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            EXHIBIT 7
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                RIKER
                                                                                   Edwin F. Chociey, Jr.
                DANZIG
                SCHERER                                                                                Direct:
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. . . . . . .~ PERRETTILLP                                                               echociey@riker.com
                                                                                         Reply to: Morristown
ATTORNEYS         AT    LAW



                December I 0, 2009

                VIA HAND DELIVERY

                Clerk
                New Jersey Superior Court, Chancery Division, Middlesex County
                Middlesex County Courthouse
                56 Paterson Street
                New Brunswick, NJ 08903

                Re:     Johnson & Johnson and Cordis Corporation v. evJ, Inc., Rhonda
                        Barr, Andrew Fitzpatrick and Brendan McKeever

                Dear Clerk:

                       We represent plaintiffs Johnson & Johnson and Cordis Corporation.
                Enclosed for filing are the original and three copies of the following documents:
                (I) Verified Complaint; and (2) Civil Case Information Statement. Kindly charge
                our firm account no. 0083800 for the filing fee and return one "filed" copy of
                these documents to us in the enclosed envelope. Thank you.

                Very truly yours,

                   £~ F· ~~~
                Edwin F. Chociey, Jr.

                Enclosures


                4002847.1




       Headquarters Plaza, One Speedwell Avenue, Morristown, NJ 07962-198 I • t: 973.538.0800 f: 973.538.1984
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RIKER, DANZIG, SCHERER, HYLAND & PERRETTI LLP
Headquarters Plaza
One Speedwell Avenue
Morristown, NJ 07962-1981
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Attorneys for Plaintiffs
Johnson & Johnson and Cordis Corporation

                                                         SUPERIOR COURT OF NEW JERSEY
JOHNSON & JOHNSON and CORDIS                             CHANCERY DIVISION
CORPORATION,                                             MIDDLESEX COUNTY
                                                         DOCKET NO.

                                           Plaintiffs,
                         vs.                                              CIVIL ACTION

EV3, INC., RHONDA BARR, ANDREW                                      VERIFIED COMPLAINT
FITZPATRICK AND BRENDAN McKEEVER,

                                         Defendants.

       Plaintiffs Johnson & Johnson ("J&J), a corporation organized under the laws of the State

of New Jersey, having its principal place of business at One Johnson & Johnson Plaza, New

Brunswick, New Jersey 08933, and Cordis Corporation ("Cordis"), a corporation organized

under the laws of the State ofFlorida, having its principal place of business at 430 Route 22 East,

Bridgewater, New Jersey 08807, by way ofVerified Complaint against defendants, say:


A.     Introduction

        1.     This is a civil action seeking injunctive relief and damages against the individual

defendants Rhonda Barr, Andrew (Bart) Fitzpatrick and Brendan McKeever (collectively,

"Individual Defendants") and ev3, Inc. ("ev3"), a direct competitor of plaintiffs that has hired the

Individual Defendants.    ev3 is targeting Cordis' top-performing Sales Representatives: Barr,




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Fitzpatrick and McKeever were the #1, #8 and #11 ranked Cardiology Sales Representatives at

Cordis in 2008, respectively.

        2.       To prevent immediate and irreparable harm, plaintiffs seek injunctive relief to

stop the flagrant pirating of plaintiffs' top-performing Sales Representatives by ev3 and to

enforce the Individual Defendants' covenants not to compete, covenants not to solicit plaintiffs'

customers and common law duties owed to plaintiffs, including the duty of loyalty. In addition

to injunctive relief, plaintiffs seek an award of damages that they have sustained or will sustain.

B.     The Parties

        3.       Plaintiff J&J is the parent company of subsidiaries engaged in the business of

developing, manufacturing and marketing a wide variety of health care products, and providing

related services, for the consumer, pharmaceutical and professional markets. J&J's subsidiaries

and operating companies market their products to customers located throughout the United States

and the world.

           4.    Plaintiff Cordis is a subsidiary of J&J and is one ofthe world's leading developers

and manufacturers of interventional vascular technology and products for interventional

medicine, minimally invasive computer-based imaging and electrophysiology, which involves

the study of the electrical properties of biological cells and tissues. For 50 years, Cordis has

pioneered less invasive treatments for vascular disease. Cordis' products include, but are not

limited to, coronary, endovascular and other stents, catheters, balloon catheters, guide wires and

other medical devices used to treat cardiovascular (heart) and endovascular (peripheral, M, leg)

disease.




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        5.     Among many other examples of Cordis' pioneering technologies and products,

Cordis developed: the first full line of Pre-Shaped Judkins catheters in 1966; the first

percutaneous transluminal coronary angioplasty ("PTCA") balloon that utilized nylon balloon

technology in 1990; and the first approved drug-eluting stent in 2003, known as the Cypher®

Sirolimus-eluting Coronary Stent ("Cypher® Stent''). The American Heart Association named

the Cypher® Stent one of the top 10 medical advancements of2003.

        6.     Cordis is comprised of five business units: (1) Cordis Cardiology- a worldwide

leader in developing and manufacturing interventional vascular technology, such as coronary

stents and catheters for the treatment of cardiovascular disease; (2) Cordis Endovascular - a

recognized leader in developing stents, catheters and vena cava filters for the treatment of biliary

obstructive disease and peripheral vascular disease, i.e., vascular disease existing outside of the

heart and brain; (3) Cordis Biologics Delivery Systems - a leader in the emerging field of

biologics delivery, which concentrates on optimizing the delivery of therapies to treat vascular

disease; (4) Conor Medsystems LLC - which focuses on controlled vascular drug delivery

technologies; and (5) Biosense Webster, Inc.- which focuses on electrophysiology and medical

sensor technology in cardiovascular procedures.

        7.     Defendant ev3, Inc. ("ev3") is a Delaware corporation with its principal place of

business located at 3033 Campus Drive, Plymouth, Minnesota 55441. ev3 is a direct competitor

of plaintiffs in developing, manufacturing and marketing endovascular stents, catheters, balloon

catheters, guide wires and other products used to treat endovascular disease.

        8.     Defendant Rhonda Barr ("Barr") is a resident of Louisiana residing at 9052

Hayden Drive, Shreveport, Louisiana 71106. Barr began working for Cordis in April2005 as a

Sales Representative. As a condition of her employment, Barr executed an Employee Secrecy,


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Non-Competition and Non-Solicitation Agreement with plaintiffs ("Barr's Agreement"). A true

and correct copy of Barr's Employee Secrecy, Non-Competition and Non-Solicitation

Agreement with plaintiffs is attached hereto as Exhibit A.

        9.     Among other provisions, Barr's Agreement contains an 18 month non-compete

period. Barr was one of the top-performing Sales Representatives at Cordis. She resigned from

Cordis on February 13, 2009, and after a brief period of employment elsewhere, she joined ev3

in or about August 2009, having been recruited by the former Cordis Vice President of Sales for

Cardiology and current ev3 Vice President of Sales for Endovascular, Kevin Cordell.

        10.    Defendant Andrew Fitzpatrick ("Fitzpatrick") is a resident of Ohio residing at

3954 Devonshire Drive, Cincinnati, Ohio 45226.         Fitzpatrick began working for Cordis in

January 2000 as Sales Representative.      As a condition of his employment, Fitzpatrick also

executed an Employee Secrecy, Non-Competition and Non-Solicitation Agreement with

plaintiffs ("Fitzpatrick's Agreement"). Plaintiffs are presently unable to locate a copy of said

Agreement. It was and is plaintiffs' practice to require all Sales Representatives to execute such

an Agreement, as indicated in the January 3, 2000 offer of employment letter from Cordis that

Fitzpatrick signed on January 4, 2000. In addition, two other Sales Representatives who began

working at Cordis during the same time frame as Fitzpatrick signed Employee Secrecy, Non-

Competition and Non-Solicitation Agreements with plaintiffs. A true and correct copy of the

January 3, 2000 offer of employment letter from Cordis that Fitzpatrick signed on January 4,

2000 and the two aforementioned Employee Secrecy, Non-Competition and Non-Solicitation

Agreements with plaintiffs are attached hereto as Exhibit B.

        11.    Among other provisions, Fitzpatrick's Agreement contains an 18 month non-

compete period. Fitzpatrick also was a top-performing Sales Representatives at Cordis. He


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resigned from Cordis on September 1, 2009, and joined ev3, also having been recruited by

former Cordis Vice President of Sales for Cardiology Kevin Cordell.

        12.    Defendant Brendan McKeever ("McKeever") is a resident of New York residing

at 615 Blauvelt Road, Pearl River, New York 10965.

        13.    McKeever began working for Cordis in July 2000 as a Sales Representative. As a

condition of his employment, McKeever also executed an Employee Secrecy, Non-Competition

and Non-Solicitation Agreement with plaintiffs ("McKeever's Agreement"). A true and correct

copy of McKeever's Employee Secrecy, Non-Competition and Non-Solicitation Agreement with

plaintiffs is attached hereto as Exhibit C.

        14.    Among other provisions, McKeever's Agreement contains an 18 month non-

compete period. McKeever also was a top-performing Sales Representatives at Cordis. He

resigned from Cordis on November 20, 2009, and joined ev3.

C.      Jurisdiction

        14.     On information and belief, ev3's products are sold throughout the United States,

including New Jersey, and its sales representatives solicit customers and sell ev3's products to

customers in New Jersey. ev3 has purposefully, systematically and continually directed contacts

to and conducted business in New Jersey. ev3 is subject to this Court's jurisdiction.

        15.     As employees of Cordis, the Individual Defendants directed telephone and written

communications to J&J and Cordis employees in New Jersey on a regular basis. In addition, the

Individual Defendants received paychecks issued by Johnson & Johnson Services, Inc., a New

Jersey corporation with its principal place of business in New Jersey. The Individual Defendants

have purposefully, systematically and continuously directed contacts to and conducted business



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in New Jersey. McKeever reported directly to a Cordis Division Manager in New Jersey, Brian

Bonacum, and engaged in daily communications through telephone and e-mail with Bonacum in

New Jersey. McKeever also attended a balloon launch training divisional update meeting at

Cordis in New Jersey in early 2008, and he serviced The Valley Hospital account for Cordis in or

about 2004 through early 2006. The Valley Hospital is located in Ridgewood, New Jersey. In

addition, McKeever arranged for Manish Parikh, M.D., a nationally-recognized interventional

cardiologist who practices in New York, to meet with Cordis senior management personnel in

New Jersey. The Individual Defendants are subject to this Court's jurisdiction.

          16.    Barr has consented to personal jurisdiction in New Jersey. Barr's Agreement

(~16)   provides:

         This Agreement shall be interpreted according to the laws of the State of New
         Jersey without regard to the conflict of law rules thereof. I agree that any action
         relating to or arising out of this Agreement may be brought in the courts of the
         State of New Jersey or, if subject matter jurisdiction exists, in the United States
         District Court for the District of New Jersey. I consent to personal jurisdiction
         and venue in both such courts and in service of process by United States mail or
         express courier service in any such action. (See Exhibit A)

        17.     Fitzpatrick's Agreement   (~17)   and McKeever's Agreement    (~17)   provide: "This

agreement shall be interpreted according to the laws of the State of New Jersey without regard to

the conflict oflaw rules thereof." (See Exhibit A)

D.      J&J and Cordis, and their protectable customer relationships and confidential,
        proprietary and trade secret information

          18.       The market for products that treat vascular disease, such as those offered by

Cordis, has become more and more competitive in recent years. Cordis has been developing

innovative responses to better develop and maintain its customer relationships and to better




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position its products in these markets. The medical device industry for the treatment of vascular

disease is a multi-billion dollar, world-wide market.

        19.    In recent years, Cordis has expended large amounts of time, resources and money

in developing and training its sales force in the United States, and in maintaining and developing

its customer relationships in the United States through its Sales Representatives. Cordis has

protected its investment in its customer relationships through, among other things, the non-

competition provisions of its Employee Secrecy, Non-Competition and Non-Solicitation

Agreements with its Sales Representatives, such as the Individual Defendants.

        20.    Cordis customer accounts differ as to which individual or individuals are

responsible for purchasing products for treating vascular disease, such as Cardiology and

Endovascular products. For example, at given customer accounts such as hospitals or physician

practice groups, a physician, a vice president of purchasing or finance, a purchasing agent, a

nurse, administrator or other staff member in the catheterization laboratory or others may be

responsible for purchasing Cardiology and Endovascular products.

        21.    Cordis considers each such person involved in the purchasing decision at a given

account to be its customer. On Cordis' behalf, Sales Representatives maintain, develop and

strengthen their relationships with the appropriate person or persons at the account who is

responsible for purchasing Cordis products.

        22.    The relationships that Cordis Sales Representatives maintain and/or develop -

through the expenditure of significant time, resources and money by Cordis - with the

individuals who are responsible for purchasing products to treat vascular disease at Cordis'

customer accounts comprise plaintiffs' significant, protectable interests.       Cordis expends

considerable time, resources and money in training and educating their Sales Representatives


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about how to most effectively present Cordis' cutting-edge products and technologies to Cordis'

customers, how to price Cordis' products and how to provide discounts to maximize sales, how

to most effectively service Cordis' customers, etc. -essentially, how to do and say everything

necessary to maintain, develop and strengthen Cordis' customer relationships.

       23.     Cordis has invested considerable resources in developing the optimal strategy for

the alignment of its sales force in the United States. For a sales force to be effective, it is

important to employ the correct number of salespersons, each placed in a strategically defined

geographic territory.

        24.    Cordis also expends considerable time, resources and money in researching,

developing and testing innovative, new products for treating vascular disease.          Due to its

significant efforts, Cordis has innovative, new products in its pipeline for the short term (1 year)

and mid term (2 to 5 years). Such information about Cordis' pipeline products and research and

development efforts and plans are considered plaintiffs' confidential, proprietary and trade secret

information.

        25.    Cordis also has expended large amounts of time, resources and money in

developing confidential, proprietary and trade secret information relating to strategies m

connection with the marketing and sale of its current and pipeline products in the United States.

Such information includes, but is not limited to, products in development, launch strategies, cost

information per product, clients to target, pricing and discount pricing.

        26.    Cordis' pricing and discount pricing information 1s highly confidential,

proprietary and trade secret information. Cordis develops pricing for three general categories of

accounts: (1) Group Purchasing Organizations ("GPO") or national account contracting; (2)

government operated facilities; and (3). independently operated facilities. Approximately 84% of


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hospitals in the United States belong to a GPO to obtain better bargaining power.           GPOs

negotiate with Cordis to establish prices, and because they purchase in high volume, GPOs

receive significant discounts. The discounts vary depending on the product and the GPO, and

are subject to confidentiality agreements. Also, hospitals in different regions of the country can

belong to the same GPO.

        27.     Plaintiffs take substantial measures to protect their confidential, proprietary and

trade secret information. All employees are issued IDs, and there is a sign-in procedure for

visitors at all facilities. No one visits a facility without an escort. All computers are equipped

with secure access features and fire walls. Plaintiffs also enter into security and confidentiality

policies and agreements, which they enforce.


E.      The Individual Defendants' employment with Cordis


        28.     Each Individual Defendant was employed with Cordis for a significant period of

time. They possess considerable experience with and knowledge about Cordis' customers and

one or more of Cordis' product lines. They were top-performing Sales Representatives at Cordis

on a national basis.

        29.     Through their positions and due to their long history with Cordis, the Individual

Defendants had access to and acquired intimate knowledge of Cordis' customer relationships on

both the Cardiology and Endovascular sides of the business in the Individual Defendants'

respective territories.

        30.     The Individual Defendants also had access to Cordis' confidential, proprietary

and trade secret information relating to its Cardiology and Endovascular business, and they

acquired knowledge of such information for all of Cordis' Cardiology product lines and business



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and certain Cordis Endovascular product lines and business. Such information included but was

not limited to:

              • marketing and sales plans for Cordis customers;
              • pricing, discount pricing and pricing strategies;
              • cost information, such as cost structure and profit margins per product;
              • positioning of Cordis' sales force in their respective territories;
              • activity levels of hospitals and other medical facilities and sales information
                concerning such facilities within their respective territories;
              • Cordis' strategic plans for which clients to target with which products within their
                respective territories;
              • contract terms for Cordis' largest customers within their respective territories;
              • lists of Cordis Sales Representatives throughout the country that include
                names, addresses and cell phone numbers;
              • monthly reports of performance-to-sales targets and ranking positions of
                Cordis Sales Representatives;
              • professional education plans and clinical training modes;
              • new product development and plans to change existing products; and
              • launch strategies for Cordis' pipeline products for the short-term (1 year) and the
                mid term (2 to 5 years), including launch dates and client targeting for their
                respective territories.

        31.       For example, each Individual Defendant is intimately knowledgeable about, and

had access to, Cordis' confidential, proprietary and trade secret information regarding its

customers and sales force plan concerning their respective territories, including: (1) how Cordis

breaks down the territories; (2) how a sales force that markets and sells products that treat

vascular disease should be geographically divided; (3) the areas where Cordis should stress its

marketing and sales force based on the activity level ofhospitals and other medical facilities; (4)

which products better match the needs of certain clients; (5) the amount of sales made to Cordis'

clients; and (8) pricing information.

        32.       Cordis' different business units share the same clients. In other words, a Cordis

Sales Representative who sells only Cardiology products in a given territory generally will call

on the same hospitals and other medical facilities as a Cordis Sales Representative who sells only

Endovascular products in that territory. In addition, beginning in August 2007 through October


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2008, each territorial division within Cordis contained both Endovascular and Cardiovascular

Sales Representatives. It was and is standard procedure at Cordis to share information about

both sides of the business with the Sales Representatives such as Barr, Fitzpatrick and

McKeever. The Endovascular and Cardiovascular Sales Representatives also share information

with each other, including customer relationships, financial information, sales and marketing

strategy and other resources.

        33.    The Individual Defendants did not bring to Cordis the customer relationships that

they serviced while employed by Cordis.       Such accounts were existing, often long-standing

Cordis accounts that Cordis assigned to the Individual Defendants.               Cordis expended

considerable time, resources and money in training and educating the Individual Defendants to

maintain, develop and strengthen Cordis' relationship with such customers.

        34.    The Individual Defendants, as with all other Cordis Sales Representatives, had

access to the J&J Gateway Commerce computer system.             The Gateway Commerce system

provides Sales Representatives with extensive, detailed account information, from the J&J

companies that use the Gateway system, for all accounts assigned to their respective territories.

Cordis is one such company. Thus, Cordis Endovascular account information is accessible to a

Cordis Cardiology Sales Representative for the accounts in his or her territory, and vice versa.

        35.    Such account information includes but is not limited to: customer purchases;

prices charged to customers; credits to customers; quantities shipped to customers; the frequency

of shipments to customers; quantities returned to customers; the cost of products; and the terms

of contracts, supply agreements and consignment agreements with customers. The Individual

Defendants thus had access to such invaluable account information for both Cordis Endovascular

and Cardiology customers in their respective territories.




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         36.    In addition, the Individual Defendants, as with all other Cordis Sales

Representatives, had access to the internal www.mycordis.com website.              That website is

maintained by Cordis' Bridgewater, New Jersey-based Commercial Operations group, and the

 server is located in Raritan, New Jersey.       The website is an internal repository for sales

 information, including training materials, sales rankings and rosters of Sales Representatives,

 sales reports, educational materials, promotional materials, marketing materials and clinical data.

         37.    The Individual Defendants can and will use, consciously or unconsciously, their

 intimate knowledge about Cordis' customer relationships and confidential, proprietary and trade

 secret information to unfairly compete with plaintiffs and to improve the marketability of ev3 's

 products. If they are allowed, on ev3's behalf, to solicit Cordis customers that they contacted on

 Cordis' behalf, or if they are allowed to work at ev3 in connection with ev3 endovascular

 products that compete with Cordis endovascular products, it is inevitable that they will

 improperly exploit their relationships with Cordis' customers that they developed on Cordis'

·behalf and at Cordis' expense and that they will disclose plaintiffs' confidential, proprietary and

 trade secret information.

         38.    As another example, the Individual Defendants are intimately knowledgeable of

 Cordis' short term (1 year) and mid term (2 to 5 years) pipeline products and marketing and sales

 strategies. The Individual Defendants can steer ev3 's development of its pipeline products by,

 for example, identifying pipeline products on which ev3 should focus, which would allow ev3 to

 unfairly compete with Cordis, or they can provide new ideas for pipeline products to ev3 based

 on Cordis pipeline products.

         39.    Plaintiffs and ev3 are direct competitors in the Endovascular market. If ev3,

 through the Individual Defendants' services, were permitted to misappropriate plaintiffs'




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customer relationships in order to sell their Endovascular products that compete with Cordis'

Endovascular products, plaintiffs would suffer immediate, irreparable and severe harm.

Likewise, if ev3 were to gain knowledge of even some of the aforementioned confidential,

proprietary and trade secret information, plaintiffs would be immediately, irreparably and

severely harmed. Money damages would not adequately compensate plaintiffs for the losses and

injuries they would suffer, leaving plaintiffs with no adequate remedy at law.


       1.      Rhonda Barr

        40.    Barr, who earned a B.A. in Elementary Education from Louisiana State

University-Shreveport, began her employment with Cordis in April 2005 as a Sales

Representative.   As a condition of her employment, and because of her access to Cordis'

customer relationships and confidential, proprietary and trade secret information, Barr executed a

Employee Secrecy, Non-Competition and Non-Solicitation Agreement. (See Exhibit A) Barr's

Agreement provides in pertinent part:

       CONFIDENTIAL INFORMATION means information disclosed to me or known
       by me as a result of my employment by the COMPANY, not generally known to
       the trade or industry in which the COMPANY is engaged, about products,
       processes, technologies, machines, customers, clients, employees, services and
       strategies of the COMPANY, including, but not limited to, inventions, research,
       development, manufacturing, purchasing, finance, computer software, computer
       hardware, automated systems, engineering, marketing, merchandising, selling,
       sales volumes or strategies, number or location of sales representatives, names or
       significance of the COMPANY's customers or clients or their employees or
       representatives, preferences, needs or requirements, purchasing histories, or other
       customer or client-specific information.

       CONFLICTING PRODUCT means any product, process, technology, machine,
       invention or service of any person or organization other than the COMPANY in
       existence or under development which resembles or competes with a product,
       process, technology, machine, invention or service upon which I shall have
       worked or about which I become knowledgeable as a result of employment with
       the COMPANY and whose use or marketability could be enhanced by application



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 to it of CONFIDENTIAL INFORMATION which I shall have had access to
 during my employment.

  CONFLICTING ORGANIZATION means any person or organization which is
  engaged in or about to become engaged in research on, consulting regarding, or
  development, production, marketing, or selling of a CONFLICTING PRODUCT.

                                        ****
 5.      I recognize that CONFIDENTIAL INFORMATION is of great value to
 the COMPANY, that the COMPANY has legitimate business interests in
 protecting its CONFIDENTIAL INFORMATION, and that the disclosure to
 anyone not authorized to receive such information, including a CONFLICTING
 ORGANIZATION, will cause immediate irreparable injury to the COMPANY.
 Unless I first secure the COMPANY's written consent, I will not disclose, use,
 disseminate, lecture upon or publish CONFIDENTIAL INFORMATION. I
 understand and agree that my obligations not to disclose, use, disseminate, lecture
 upon or publish CONFIDENTIAL INFORMATION shall continue after
 termination of my employment for any reason.

  6.      During my employment with the COMPANY and for a period of eighteen
  (18) months after termination of my employment with the COMPANY for any
  reason, I will not render services, directly or indirectly, to any CONFLICTING
  ORGANIZATION in the United States, or in any foreign country or territory in
  which the services I may provide could enhance the use or marketability of a
  CONFLICTING PRODUCT by application of CONFIDENTIAL INFORMA-
  TION which I shall have had access to during my employment, except that I may
  accept employment with a CONFLICTING ORGANIZATION whose business is
  diversified and which is, as to that part of its business in which I accept
  employment, not a CONFLICTING ORGANIZATION, provided that the
  COMPANY, prior to my accepting such employment, shall receive separate
  written assurances satisfactory to the COMPANY from such CONFLICTING
  ORGANIZATION and from me, that I will not render services directly or
  indirectly, for an 18-month period, in connection with any CONFLICTING
  PRODUCT. I also agree that during my employment with the COMPANY and
  for a period of 18 months thereafter, I will not render services to any other
  organization or person in a position in which I could use CONFIDENTIAL
  INFORMATION to the detriment of the COMPANY.

  7.      I recognize that the COMPANY's relations with its accounts, customers
  and clients represents an important business asset that results from the
  COMPANY's significant investment of its time and resources. I further
  recognize that by virtue of my employment by the COMPANY, I have gained or
  may gain relationships with the accounts, customers and clients of the
  COMPANY, and because of such relationships, I could cause the COMPANY
  great loss, damage, and immediate irreparable harm, if, during my employment by



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       the COMPANY or subsequent to the termination of such employment for any
       reason, I should for myself or on behalf of any other person, entity, firm or
       corporation, sell, offer for sale, or solicit or assist in the sale of a product or
       service that could compete with a product or service being sold or developed by
       the COMPANY. I therefore agree that during my employment with the
       COMPANY and for eighteen (18) months after termination of such employment
       for any reason, I will not solicit any business from, sell to, or render any service
       to, or, directly or indirectly, help others to solicit business from or render service
       or sell to, any of the accounts, customers or clients with whom I have had contact
       during the last twelve (12) months of my employment with the COMPANY, for
       any purpose related to the sale of any such product or service. I also agree that for
       a period of twelve (12) months after termination of employment with the
       COMPANY for any reason, I will not solicit or hire on my own behalf, or on
       behalf of others, any COMPANY employee.

                                                ****
       13.     I understand and acknowledge that if I violate this Agreement or am about
       to violate this Agreement by disclosing or using information prohibited by
       paragraph 5 above, accepting employment or providing services prohibited by
       paragraph 6 or 7 above, or failing to tum over property as required by paragraph
       12_above, the~COMPANY shall have the right, and be entitled to, in addition to
       any other remedies it may have, injunctive relief; in other words, I understand and
       acknowledge that the COMPANY can bar me from disclosing or using such
       information, bar me from accepting such employment or rendering such services
       for the periods specified in paragraphs 6 and 7 above, and require that I tum over
       such property.

       41.     Paragraph 9 of Barr's Agreement provides that if, because of her obligations

under paragraphs 6 and 7, she is unable to obtain employment consistent with her training and

education, such obligations are contingent on Cordis paying her (a) the prorated monthly

compensation that she received from Cordis, or (b) the difference between such prorated monthly

compensation and the similarly computed monthly compensation that she receives from her post-

Cordis employment if her post-Cordis employment provides less compensation as a result of the

prohibitions contained in paragraphs 6 and 7.

       42.     Barr served as the Cordis Cardiology Sales Representative in its Shreveport,

Louisiana territory. She serviced accounts in Shreveport, Monroe and New Orleans, Louisiana




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and Jackson and Vicksburg, Mississippi. Cordis promoted Barr from Sales Representative to

Senior Sales Representative in February 2008.

       43.      Barr was consistently ranked as one of the top-performing Cordis Sales

Representatives in the United States.     For example, in 2008, Barr was ranked as the #1

Cardiology Sales Representative in the United States in total sales. At that time, there were

approximately 117 Cardiology Sales Representatives in the United States.

       44.      Barr was handsomely compensated at Cordis. She received annual base salaries

as follows: $50,000 (effective May 2, 2005); $51,000 (February 27, 2006); $52,900 (February

26, 2007); $57,600 (February 25, 2008); and $62,000 (March 10, 2008). She also received

variable compensation (i.e., sales commissions, sales bonuses, sales and marketing promotions,

sales awards) as follows: $88,000   (April~December   2005); $157,000 (2006); $160,000 (2007);

$243,000 (2008); and $38,000 (January-February 2009), for a total of $686,000 in variable

compensation.

       45.      Barr developed close relationships with physicians, including interventional

cardiologists, who use both Cardiology and Endovascular products, as well as with other

customers, such as purchasing agents, hospital administrators and catheterization laboratory

nurses and staffs, whose responsibilities include selecting, using, negotiating and/or purchasing

purchase both Cardiology and Endovascular products for such interventional cardiologists. Such

cardiologists perform both cardiovascular (heart) and endovascular (peripheral) procedures, and

therefore purchase and use both Cardiology and Endovascular products.

       46.      As a Cordis Cardiology Sales Representative, Barr had access to Cordis'

Endovascular pricing, combined programs in Endovascular and Cardiovascular, Endovascular




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division strategies and Endovascular sales information for approximately 90% of the accounts of

Cordis' Shreveport Endovascular Sales Representative, Roger Parik.

        47.    Barr possesses relationships with many of the same physicians, purchasing agents,

hospital administrators and others that she gained as a Sales Representative for Cordis

Cardiology. Barr and Parik worked together as a team to grow the Cordis Endovascular and

Cardiovascular business in the Shreveport territory. They collaborated with each other and sold

to accounts together.

        48.    As part of Cordis' strategy for the Shreveport territory, Parik and Barr shared with

each other highly strategic information about their respective Endovascular and Cardiovascular

sales efforts. Barr and Parik partnered in their cross-selling efforts so as to present a "unified

front" to the Cordis customers in the Shreveport territory, and to be able to address concerns and

questions regardless of the product at issue, whether Endovascular or Cardiovascular. Barr

gained insight and experience through combined "in-services" (i.e., Barr was present for and

witnessed sales presentations by Cordis Endovascular Sales Representatives to physicians,

purchasing agents, catheterization laboratory nurses and staff members, etc. at Cordis accounts),

divisional meeting training, presentations and conference calls involving the cross-sharing of

knowledge and information about Cordis' Endovascular and Cardiovascular divisions. Such

information included but was not limited to prices, pricing strategies, marketing strategies, sales

training techniques and product codes. Barr also reported for a period of time to a Cordis

Division Manager, Michael McNulty, who was responsible for both the Endovascular and

Cardiovascular divisions.




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       49.    Barr also attended Cordis Endovascular Dinner Meetings.         Typically, at such

meetings, physician presenters discussed cutting-edge Endovascular procedures and their need

for and use ofEndovascular products.

       50.    Barr resigned from Cordis on February 13, 2009. Upon information and belief,

she joined St. Jude Medical in its pace maker division, and then joined ev3 in or about

September-October 2009, having been hired by Kevin Cordell, who previously served as the

Vice President of Sales for Cordis Cardiology and who left Cordis in February 2007 and now

serves as ev3's Vice President of Sales for ev3's Endovascular division. Barr now serves as

ev3's sales representative for Shreveport, Louisiana and the surrounding area- the same area

that she covered while employed by Cordis. She sells ev3 products, such as Endo SX Stents,

Endo BX Stents and Endo PTA balloons, that compete directly with Cordis Endovascular

products.

       51.     Barr presently covers and solicits for ev3 many of the same customers - the same

physicians, physician practice groups, hospitals, hospital administrators, hospital purchasing

agents, catheterization laboratory nurses, administrators and staff and others - that she covered

as a Cordis Sales Representative during the last 12 months of her employment with Cordis.


      2.       Andrew Fitzpatrick

       52.     Fitzpatrick, who earned a B.S.B.A. in Finance from Ohio State University and

M.B.A. from Xavier University, began his employment with Cordis in January 2000 as a Senior

Sales Representative. As a condition of his employment, and because of his access to Cordis'

customer relationships and confidential, proprietary and trade secret information, Fitzpatrick

executed a Employee Secrecy, Non-Competition and Non-Solicitation Agreement. (See Exhibit

B) Fitzpatrick's Agreement provides in pertinent part:


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 CONFIDENTIAL INFORMATION means information disclosed to me or known
 by me as a result of my employment by the COMPANY, not generally known to
 the trade or industry in which the COMPANY is engaged, about products,
 processes, machines, customers, clients, employees and services of the
 COMPANY, including, but not limited to, inventions, research, development,
 manufacturing, purchasing, fmance, data processing, engineering, marketing,
 merchandising, selling, sales volumes and strategies, number and location of sales
 representatives, names and significance of the COMPANY's customers and
 clients and their employees and representatives, preferences, needs and
 requirements, purchasing histories, and other customer or client-specific
 information and comparable information about the products, processes, machines,
 customers, clients and services of affiliates of the COMPANY acquired by me
 during my employment by the COMPANY.

 CONFLICTING PRODUCT means any product, technology, process, machine,
 invention or service of any person or organization other than the COMPANY in
 existence or under development which resembles or competes with a product,
 process, machine, invention or service upon which I shall have worked or about
 which I become knowledgeable as part of my job responsibilities during my term
 of employment with the COMPANY and whose use or marketability could be
 enhanced by application to it of CONFIDENTIAL INFORMATION which I shall
 have had access to during my employment.

  CONFLICTING ORGANIZATION means any person or organization which is
  engaged in or about to become engaged in research on, consulting regarding, or
  development, production, marketing, or selling of a CONFLICTING PRODUCT.

                                         ****
  5.      I recognize that CONFIDENTIAL INFORMATION is of great value to
  the COMPANY, that the COMPANY has legitimate business interests in
  protecting its CONFIDENTIAL INFORMATION, and that the disclosure to
  anyone not authorized to receive such information, including a CONFLICTING
  ORGANIZATION, will cause immediate irreparable injury to the COMPANY.
  Unless I first secure the COMPANY's written consent, I will not disclose, use,
  disseminate, lecture upon or publish CONFIDENTIAL INFORMATION. I
  understand and agree that my obligations not to disclose, use, disseminate, lecture
  upon or publish CONFIDENTIAL INFORMATION shall continue after
  termination of my employment for any reason.

  6.      I will not render services, directly or indirectly, to any CONFLICTING
  ORGANIZATION in the United States or Canada, or in any other foreign country
  or territory in which I performed services for the Company, for a period of
  eighteen (18) months after termination of my employment with the COMPANY
  for any reason, except that I may accept employment with a CONFLICTING
  ORGANIZATION whose business is diversified and which is, as to that part of its



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 business in which I accept employment, not a CONFLICTING
 ORGANIZATION, provided that the COMPANY, prior to my accepting such
 employment, shall receive separate written assurances satisfactory to the
 COMPANY from such CONFLICTING ORGANIZATION and from me, that I
 will not render services directly or indirectly, for an 18-month period, in
 connection with any CONFLICTING PRODUCT.

 7.       I recognize that the COMPANY's relations with its accounts, customers
 and clients represents an important business asset that results from the
 COMPANY's significant investment of its time and resources. I further
 recognize that by virtue of my employment by the COMPANY, I have gained or
 may gain relationships with the accounts, customers and clients of the
 COMPANY, and because of such relationships, I could cause the COMPANY
 great loss, damage, and immediate irreparable harm, if, during my employment by
 the COMPANY or subsequent to the termination of such employment for any
 reason, I should for myself or on behalf of any other person, entity, firm or
 corporation, sell, offer for sale, or solicit or assist in the sale of a product or
 service that could compete with a product or service being sold or developed by
 the COMPANY. I therefore agree that during my employment with the
 COMPANY and for eighteen (18) months after termination of such employment
 for any reason, I will not solicit any business from, sell to, or render any service
 to, or, directly or indirectly, help others to solicit business from or render service
 or sell to, any of the accounts, customers or clients with whom I have had contact
 during the last twelve (12) months of my employment with the COMPANY, for
 any purpose related to the sale of any such product or service. I also agree that for
 a period of twelve (12) months after termination of employment with the
 COMPANY for any reason, I will not solicit or hire on my own behalf, or on
 behalf of others, any COMPANY employee.

                                         ****
  9. If I am unable to obtain employment consistent with my training and
  education solely because of prohibitions of paragraphs 6 and 7 of this Agreement,
  the prohibitions of those paragraphs that have caused me to be unable to obtain
  such employment shall bind me only as long as the COMPANY shall make
  payments to me equal to my monthly base pay at termination (exclusive of extra
  compensation and employee benefits) for each month of such unemployment for
  the period of the prohibition specified in paragraphs 6 and 7, provided that I am in
  compliance with paragraphs 8, 10 and 11 ofthis Agreement.

  13.     I understand and acknowledge that ifl violate this Agreement or am about
  to violate this Agreement by accepting employment or providing services
  prohibited by paragraph 6 or 7 above, the COMPANY shall have the right, and be
  entitled to, in addition to any other remedies it may have, injunctive relief; in
  other words, I understand and acknowledge that the COMPANY can bar me from
  accepting such employment or rendering such services for the periods specified in
  paragraphs 6 and 7 above.



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      53.      Fitzpatrick served as a Cordis' Cardiology Senior Sales Representative in its

Cincinnati North territory.   Fitzpatrick was promoted from Senior Sales Representative to

Account Executive in March 2004.

       54.     Fitzpatrick was consistently ranked as one of the top-performing Cordis Sales

Representatives in the United States. In 2008, Fitzpatrick finished #8 out of approximately 117

Cardiology Sales Representatives in the United States in terms of total sales. He finished at

107% of his forecast, i.e., target, achievement for the sale of Cypher® stents, and at 103% for

core products, such as interventional guiding catheters, diagnostic catheters, PTCA balloons, etc.

He was chosen to serve as a Field Sales Trainer, a prestigious position in which he trained Cordis

Sales Representative trainees. He was a five-time President's Club winner, meaning that he

finished in the top 10% of his sales organization. He was one of several Sales Representatives

who were chosen to participate in the Cordis Management Development Program, meaning that

he attended specialized training programs in New Jersey.

        55.    Fitzpatrick was handsomely compensated at Cordis. He received annual base

salaries as follows: $52,400 (effective January 17, 2000); $55,200 (January 1, 2001); $57,190

(January 6, 2003); $65,000 (March 1, 2004); $68,400 (February 28, 2005); $71,400 (February

27, 2006); $74,700 (February 26, 2007); $78,200 (February 25, 2008); and $81,100 (February

23, 2009).    In addition, he received variable compensation (i.e., sales commissions, sales

bonuses, sales and marketing promotions, sales awards) as follows: $88,000 (2000); $166,000

(2001); $115,000 (2002); $238,000 (2003); $382,000 (2004); $314,000 (2005); $313,000 (2006);

$219,000 (2007); $246,000 (2008); and $128,000 (January-August 2009), for a total of

$2,211,000 in variable compensation.




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      56.     Like Barr, Fitzpatrick developed close relationships with physicians, including

interventional cardiologists, who purchase and use both Cardiology and Endovascular products.

He also developed close relationships with other customers, such as purchasing agents, hospital

administrators and catheterization laboratory nurses and staffs, whose responsibilities include

selecting, using, negotiating and/or purchasing both Cardiology and Endovascular products for

such interventional cardiologists.    Such cardiologists perform both cardiovascular and

endovascular procedures.

       57.     Fitzpatrick resigned from Cordis on September 1, 2009. He joined ev3, now

serves as an ev3 sales representative in the Cincinnati area and, upon information and belief,

solicits some of the same accounts that he solicited on Cordis' behalf during the last 12 months

of his employment with Cordis.

       3.      Brendan McKeever

       58.     McKeever, who earned a B.A. in Political Science from Hunter College, began

his employment with Cordis in July 2000 as a Sales Representative. As a condition of his

employment, and because of his access to Cordis' customer relationships and confidential,

proprietary and trade secret information, McKeever executed a Employee Secrecy, Non-

Competition and Non-Solicitation Agreement. (See Exhibit C) McKeever's Agreement contains

the same confidentiality, non-competition and non-solicitation provisions as Fitzpatrick's

Agreement (~5, 6, 7, 9, 13).

       59.     McKeever served as a Cordis Cardiology Sales Representative in its New York

division (Northern Manhattan territory). The New York division encompasses seven territories:

Northern Manhattan; Southern Manhattan; Brooklyn/Queens/Long Island; Northern New Jersey;

Central New Jersey; Southern New Jersey; and Western New Jersey. McKeever was promoted


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from Sales Representative to Senior Sales Representative in January 2003, and from Senior Sales

Representative to Account Executive in February 2005.

      60.     McKeever was consistently ranked as one of the top-performing Cordis Sales

Representatives in the United States. He serviced some of Cordis' most high profile customer

relationships in the country, such as Lenox Hill Hospital, Columbia Presbyterian Hospital and

New York Hospital-Cornell. He also serviced New York Hospital-Queens, an affiliate of New

York Hospital-Cornell. In 2008, McKeever finished #11 out of approximately 117 Cardiology

Sales Representatives in the United States in terms of total-sales. In 2008, he was recognized as

a Cordis "Elite Trip Award Winner," meaning that he ranked in the top 10% of Cordis Sales

Representatives nation-wide. He sold more than $100 million of Cordis Cypher® product during

his employment with Cordis. In 2008, he sold almost $2 million worth of Cypher® stents to

finish at 149% of his forecasted achievement, he finished at 101% of his forecast achievement

for core products, such as interventional guiding catheters, diagnostic catheters, PTCA balloons,

etc., and he was ranked as the #2 seller of PTCA balloons in the New York division.

       61.     McKeever was handsomely compensated at Cordis. He received annual base

salaries as follows: $45,000 (effective July 9, 2000); $50,000 (January 6, 2003); $55,000

(January 20, 2003); $58,800 (March 1, 2004); $65,000 (February 28, 2005); $68,400 (February

27, 2006); $71,000 (February 26, 2007); $73,700 (February 25, 2008); and $76,500 (February

23, 2009). He also received variable compensation (i.e., sales commissions, sales bonuses, sales

and marketing promotions, sales awards) as follows: $46,000 (July-December 2000); $158,000

(2001); $135,000 (2002); $247,000 (2003); $396,000 (2004); $295,000 (2005); $249,000 (2006);

$207,000 (2007); $253,000 (2008); and $59,000 ·(January-October 2009), for a total of

$2,044,000 in variable compensation.



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       62.     Like Barr and Fitzpatrick, McKeever developed close relationships with

physicians, including interventional cardiologists, who purchase and use both Cardiology and

Endovascular products.     He similarly developed close relationships with other customers,

including purchasing agents, hospital administrators and catheterization laboratory nurses and

staff members, whose responsibilities include selecting, using, negotiating and/or purchasing

both Cardiology and Endovascular products for the interventional cardiologists who perform

both cardiovascular and endovascular procedures.

       63.     McKeever resigned from Cordis on November 20, 2009. He joined ev3, and now

serves as an ev3 sales representative in New York. Upon information and belief, he is soliciting

some of the same accounts that he solicited on Cordis' behalf during the last 12 months of his

employment with Cordis, including Lenox Hill Hospital - one of the most significant, lucrative

and prestigious accounts in the United States.


F.     Plaintiffs have attempted to resolve this matter amicably with ev3

        64.    Before filing this action, plaintiffs attempted to resolve amicably with ev3 the

matter of ev3's employment of the Individual Defendants. Plaintiffs' counsel sent an October

19, 2009 letter to ev3's counsel (at that time, McKeever had not yet resigned from Cordis), and

ev3 ultimately responded by way of a November 18, 2009 letter from its counsel. A true and

correct copy of plaintiffs' counsel's October 19, 2009 letter to ev3 and ev3's counsel's

November 18, 2009letter to plaintiffs' counsel are attached hereto as Exhibit D.

       65.     Plaintiffs and ev3 thereafter continued to discuss the potential amicable resolution

of ev3's employment of the Individual Defendants. Nevertheless, ev3 failed and refused to

provide plaintiffs with adequate assurances that ev3 would not employ the Individual Defendants

in capacities that would lead to them to violate their Agreements with plaintiffs and their other


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duties owed to plaintiffs. Consequently, plaintiffs must seek judicial intervention to prevent

immediate, irreparable harm, to stop the pirating of plaintiffs' top-performing Sales

Representatives by ev3 and to enforce the Individual Defendants' covenants not to compete,

covenants not to solicit plaintiffs' customers and common law duties owed to plaintiffs,

including the duty of loyalty.

                                           First Count

        66.    Plaintiffs repeat the allegations contained m the foregoing paragraphs and

incorporate those allegations in this Count by reference.

        67.    The Individual Defendants' employment with ev3 constitutes a breach of their

respective non-compete agreements because they are employed by a company that competes

with plaintiffs during the restricted period and involves the Individual Defendants providing

services that may enhance the use or marketability of a competing product by application of

plaintiffs' confidential, proprietary and trade secret information. The Individual Defendants'

employment with ev3 also will inevitably induce and require the Individual Defendants to breach

their respective non-compete agreements and common law duties with plaintiffs because they

have joined an organization that is engaged in direct competition with plaintiffs and their

employment with ev3 makes it inevitable that they will disclose confidential, proprietary and

trade secret information that they learned while employed by Cordis.

        68.    The Individual Defendants' employment with ev3 constitutes a breach of their

respective non-compete agreements because after their termination from Cordis and while

employed by ev3, they will be soliciting business from, selling to and/or rendering services to the

accounts, customers or clients with whom they had contact during their employment with Cordis




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for purposes related to the sale of a product or service that could compete with products or

services being sold or developed by plaintiffs.

          69.   As a result of these breaches and/or inevitable breaches, plaintiffs will suffer

immediate, severe and irreparable harm to its business, and other damages and injuries.

                                            Second Count

          70.   Plaintiffs repeat the allegations contained in the foregoing paragraphs and

incorporate those allegations in this Count by reference.

          71.   As employees of Cordis, each of the Individual Defendants had a duty of loyalty

that existed independent of their respective non-compete agreement to refrain from disclosing

confidential, proprietary and trade secret information that they learned while employed by

Cordis.     If the Individual Defendants are allowed to work for ev3, a direct competitor of

plaintiffs, it is inevitable that they will breach their duty by disclosing plaintiffs' confidential,

proprietary and trade secret information.

          72.   As a result of these breaches and/or inevitable breaches, plaintiffs will suffer

immediate, severe and irreparable harm to its business, and other damages and injuries.

                                            Third Count

          73.   Plaintiffs repeat the allegations contained m the foregoing paragraphs and

incorporate those allegations in this Count by reference.

          74.   ev3 is aware that the Individual Defendants have entered into the non-compete

agreements with plaintiffs. ev3 is also aware that the Individual Defendants possess highly

confidential, proprietary and trade secret information that belongs to plaintiffs. ev3 is aware that

hiring the Individual Defendants constitutes a breach of their respective non-compete agreements

and common law duties, including the duty of loyalty.




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                  75.     Despite that knowledge, ev3 has conspired with, encouraged and tortiously

          induced the Individual Defendants to breach both their non-compete agreements and their

          common law duties to plaintiffs and, therefore, has tortiously and maliciously interfered with

          plaintiffs' contractual relationship with the Individual Defendants and with their common law

          duties of loyalty.

                  76.     As a result of ev3's actions, plaintiffs will suffer immediate, severe and

          irreparable harm to its business, and other damages and injuries.

                                                    Fourth Count

                  77.     Plaintiffs repeat the allegations contained m the foregoing paragraphs and

          incorporate those allegations in this Count by reference.

                  78.     By hiring the Individual Defendants, ev3 and the Individual Defendants have

          wrongfully contracted, combined, conspired and agreed to and have: (1) engaged in unfair
..   ~-


          competition; (2) breached common law obligations; (3) tortiously interfered with the contractual

          relationships and prospective economic advantage of plaintiffs; (4) wrongfully converted and

          misappropriated confidential, proprietary and trade secret information of plaintiffs; and (5)

          unjustly enriched themselves at the expense of plaintiffs.

                  79.     The acts of ev3 and the Individual Defendants constitute wrongful and malicious

          conduct undertaken without legal justification and with the knowledge and intent that their

          actions will cause substantial damage and injury to plaintiffs.

                  80.     Unless ev3 and the Individual Defendants are immediately enjoined and

          restrained, plaintiffs will suffer immediate and irreparable injury for which they have no

          adequate remedy at law or in money damages, and other damages and injuries.

                  WHEREFORE, plaintiffs demand judgment against defendants, jointly and severally:




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         A.    Temporarily, interlocutorily and permanently enjoining and restraining the

Individual Defendants from soliciting- any business from, selling to or rendering any services to

or, directly or indirectly, helping others solicit business from or rendering any service or selling

to, any of the accounts, customers or clients with whom they had contact during the last 12

months of employment with Cordis, for a period of 18 months from the date of the Court's

Order;

         B.    Temporarily, interlocutorily and permanently enjoining and restraining ev3 and its

officers, agents and employees from causing or permitting the Individual Defendants to sell to, or

render any services to or, directly or indirectly, help others solicit business from or render any

service or selling to, any of the accounts, customers or clients with whom they had contact

during the last 12 months of employment with Cordis, for a period of 18 months from the date of

the Court's Order;

         C.    Temporarily, interlocutorily and permanently enJommg and restraining the

Individual Defendants from soliciting or hiring on their behalf or on behalf of anyone else,

including but not limited to ev3, any employee of plaintiffs, for a period of 12 months from the

date ofthe Court's Order;

         D.    Temporarily, interlocutorily and permanently enjoining and restraining ev3 and its

officers, agents and employees from causing or permitting the Individual Defendants from

soliciting or hiring on ev3 's behalf, any employee of plaintiffs, for a period of 12 months from

the date of the Court's Order;

         E.    Temporarily, interlocutorily and permanently enjoining ev3 from soliciting or

hiring any employee of plaintiffs for a period of 12 months from the date of the Court's Order;




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       F.      Temporarily, interlocutorily and permanently enjoining and restraining the

Individual Defendants from holding any employment position or engaging in any employment

activity with ev3, directly or indirectly, that in any way relates to or involves any ev3

product that resembles or competes with any product of plaintiffs on which the Individual

Defendants worked or about which the Individual Defendants became knowledgeable as a result

of their employment with plaintiffs and whose use or marketability could be enhanced by

application of plaintiffs' confidential, proprietary or trade secret information to which the

Individual Defendants had access during their employment with plaintiffs, or any other position

that would place them in a position of using or disclosing plaintiffs' confidential, proprietary and

trade secret information, for a period of 18 months from the date of the Court's Order;

       G.      Temporarily, interlocutorily and permanently enjoining and restraining ev3 and its

officers, agents and employees from causing or permitting the Individual Defendants to hold any

employment position or engage in any employment activity with ev3, directly or indirectly, that

in any way relates to or involves any ev3 product that resembles or competes with any product

of plaintiffs on which the Individual Defendants worked or about which the Individual

Defendants became knowledgeable as a result of their employment with plaintiffs and whose use

or marketability could be enhanced by application of plaintiffs' confidential, proprietary or trade

secret information to which the Individual Defendants had access during their employment with

plaintiffs, or any other position that would place them in a position of using or disclosing

plaintiffs' confidential, proprietary and trade secret information, for a period of 18 months from

the date ofthe Court's Order;

        H.     Temporarily, interlocutorily and permanently enJmmng and restraining the

Individual Defendants from disclosing, using, disseminating, lecturing upon or publishing any of




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plaintiffs' confidential, proprietary and trade secret information as defined in their respective

non-compete agreements;

       I.      Temporarily, interlocutorily and permanently enjoining and restraining ev3 from

(1) causing or permitting the Individual Defendants to disclose or use and (2) receiving, using

and disclosing, plaintiffs' confidential, proprietary and trade secret information as defined by

their respective non-compete agreements;

       J.      Ordering defendants to turn over and return to plaintiffs all of plaintiffs'

confidential, proprietary and trade secret information that defendants have removed, copied,

taken, used, disseminated or reviewed, or otherwise have in their possession, custody or control;

       K.      Temporarily, interlocutorily and permanently enjoining and restraining the

Individual Defendants from otherwise violating any of the terms oftheir respective non-compete

agreements and common law obligations;

       L.      Temporarily, interlocutorily and permanently enjoining and restraining ev3 from

otherwise causing or permitting the Individual Defendants to violate any of terms of their

respective non-compete agreements or their common law obligations to plaintiffs;

       M.      Awarding compensatory damages to plaintiffs including, but not limited to, the

cost in training the Individual Defendants and the cost in recruiting and training new employees

to replace the Individual Defendants;

       N.      Awarding punitive damage to plaintiffs;

       0.      Awarding costs, expenses and attorneys' fees to plaintiffs;

       P.      Awarding such other and further relief as the Court deems just and equitable.




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                                             RIKER, DANZIG, SCHERER, HYLAND
                                               & PERRETTI LLP
                                             Attorneys for Plaintiffs
                                             Johnson & Johnson and Cordis Corporation


                                             By:       ~            F     ~.1..
                                                             Glenn A. Clark  t/"
                                                           Edwin F. Chociey, Jr.

Dated: December 10, 2009


                                     Rule 4:5-1 Certification

       I certify that to the best of my present knowledge, the matter in controversy is not the

subject of any other action pending in any court or of a pending arbitration proceeding, and no
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such other action or arbitration proceeding is presently contemplated by plaintiffs. I am not

presently aware of any non-parties who should be joined in this action pursuant to Rule 4:28 or

who is subject to joinder pursuant to Rule 4:29-l(b) because of potential liability to any party on

the basis of the same transactional facts.




                                                ~f.~~~-
                                                Edwin F. Chociey, Jr.

Dated: December 10, 2009




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                                                                                                      JANREM0113017
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                                                Yerifviqg CcrlificatioD

                     r. Wllli:un Jror. of 1\dl age:, ee1til'y as follows:
                      1.        I am the Director of Sale~ .1.. C8.tdiology7 S<lutheut Region    of Cordis

               c
                      2,        I bave ~ the Verified Complcdnt t.o whic:h ~s Veri~ing

        .      Cert •cation is attached and the factual allegations in sections B,          C, D, E, )::(1),
       ,•
                                                          .
                                                          .                                 .
               .E(2) and   F,   b~     on my personal    k;nowl~~      and from m.r    R'Ylj:W   of Cordis'
               reco s. are tru.e unless expresgly Rtst.ted as blfJiet.l on iDformat.ion and ~c;lief•

            . - -- .. hettifY that the fon:g6iriifsti.iementS made by me arc tiUc.         lianiiware-t11at .
                      of the foregoing statements are willfully false, I am subject to punishment




               Da     : .Deoember lDJ, 2009



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                                   Verifying Certification

           L BrianT. Bonacum, of full age, certifY as follows:

           1.     I am the: Division Mano.ger- New York ofCordls Corporation.

           2.     I have read the Verified Complaint to which this Veril

     Certification is attached and the factual allegations in sections B, C, D, E and E(3),

     based on my personal knowledge and from my review of Cordis' records, are true

     .~ess expressly   stated as based e>rt information and belief.

           1 certifY that the foregoing statements made by me aro true. I run awate that

     if any of the foregoing statements are willfully false, 1 am subject to pl.&nisbment.



                                   ~~~
                                    ~:onacum
.• :Dated: Decembr.r 10, 2009

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                                                                                              JANREM0113019
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                          CERTIFICATION PURSUANT TO RULE 1:4-4(c)

            I, Edwin F. Chociey, Jr., of full age, certify as follows:

            1.     I am an attorney-at-law in the State ofNew Jersey and a member of the law firm

ofRiker, Danzig, Scherer, Hyland & Perretti LLP, attorneys for plaintiffs in this matter.

            2.      Attached hereto are the Verifying Certifications of William Irby and Brian T.

Bonacum, with a facsimile of their original signatures. I certify that Mr. Irby and Mr. Bonacum

have acknowledged the genuineness of their respective signatures and that the documents or a

copy with original signatures affixed will be filed if requested by the Court or a party.

            I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements are willfully false, I am subject to punishment.



                                                              ~       F~··{f>·
                                                              Edwin F. Chociey, Jr.

Dated: December: 10, 2009


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  EXHIBIT A




                                                                    JANREM0113021
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                                                                   Cordis.~

      Name of Employee:

      Rosidonce Address:
                                                i~:.~~·
                                              6 ~CCtJ                        (Qt. :HIO{o
                   As uaed in Ibis Agreement:

          the COMPANY moans CORDIS CORPORATION, and JOHNSON & JOHNSON ind any of lhcir tucccssor• or anigns, purchasers,
      acqulrcrs, and any or lhcir eKisling and future subaidiarica, diviaiona or affiilalcs, im:ludin111 ;~ny 1u~b subsidiary, cllvl&ioo or arnliale of
      Jobnsoa & Joluason to whicll 1 may be traasfened or by which I may be employed ia tbe future. Affilialea of tbe COMPANY are any
      corporation, e~ttily or oroanization at least SO% owRecl by the COMPANY, by Johnson A Johnson or by &lly subsidlny or Jollnsoll .t.
      Johnson.

           L mean» the employee whose name a.ppcars above, ¥lao rcfcncd Ia by abe 11se of firu person pronoua~ such as me and my.
           INVENTIONS mean discoveries, improvcmelliS andJor ideu. whether patentable or not.

           CONFIDENTIAL INFORMATION means informalioa disclosed to me or known by me as a resulc of my employment by the
      COMPANY. not generally known to the trade or iadustry In wbich tile COMPANY is engaged, about product•, proc:euc&, tecbnolosics,
      mac:llincs, customers, c:licaca, cmployeCII, scnic:es aDd sttatcciea of tbe COMPANY, inchadias:, but not lh11iled la, i11veatioos, RsHn:h,
      development, manufa.::turin1, purchasing, finance, computer aoftware, computer hardw•re, automated ayatema, engineering, marketing,
      merc:handising, selling, salcl volumes or slrategiea, number or location of aalea represcntalives, name• or significance or lhc COMPANY's
      CWitomcrs or clients or their etnployccs or n:prcscotacivcs, preferences, 11elda or rcquiremcnll, purc;buiag biatorics, or otlta" cuatoiDCJ' or
      client-specific Information.

          CONf'J,JCTINO PROpUCT means any product, process, tecbnoiOIY• machine, invenlion or service of any per~on or organi2.ation
      other than the COMPANY in exhtcncc or under development which resembles or competes with a product, procau, technology, machine,
      inventian or service upon which 1 shall have worked or about which I become knowledgeable as a result or employment with the
      COMPANY and whose use or marketability could be enhanced by applic:ation to it of CONflDBNTlAL INfORMATION whic:b I shall
      have had ac:c:en to durin& my employmonl

           CONFLICTING ORGANIZATION meani aoy person or organization which I& enpgcd in or about to become cngagecl in research
      on, consulting rcsardina, or dcnlopment, production, marketing, or acllina or a CONFLICTING PRODUCT.

               I recognize that tile business in wblcb tile COMPANY is engaged is extremely competitive aad that tile COMPANY will be
      providing me with CONFrDI!NTIAL INFORMATION both at the c:ommen~emenl of my employment and lllercafter and may also be
      providing me with the opportunity to contribute 10 the creation of CONFIDBNTIAL INFORMATION. wblch will anise both the
      COMPANY and me in competing effectively. 1 rccoaaizc that CONFIDENTIAL INFORMATION Is sigaif'icant 10 tile COMPANY'S
      compctilive poJition and that tho COMPANY therefore expects me to keep it acc:ret and al1o expects me nol to compete witb the
      COMPANY dmring my employment and for a. pedod of time thereafter.

               Accordingly, in coDsideratioD or tho reccipl of CONFIDENTIAL INFORMATION, my emplo)'l1lcnt or the continuation of my
      employment by the COMPANY, and other benefits befog provided lo me in connection wUh this Aarecmt:J1l, includine, thure provided
      pursuant to paragraph 9:

      I.   I agree to disclose promplly 10 the COMPANY all INVENTIONS conceived or made by me whodu;r or nol clurias my hours of
           employment or wilh the usc of the COMPANY's facilities, materials or perscmnel, ellhcr 10iely or jointly with IDOihcr or others
           during my cmploymcnt with the COMPANY, &nd relatcd to the acluul or anlicipatcd business or ac:tivillos of lhc COMPANY, or
           rc:latccl to its acl\lal or anticipated research a11d devolopmcnt or •IIIIJlCSicd by or resulting from any task assisned 10 me or work
           performed by me for, or on bcbalf of, the COMPANY. I asslp and S.JJI'CC to nsign my entire risht, tide and interest tbc:roin to the
           COMPANY. I will not assert any rights under or to 1111y INVI!NTIONS as baviaa been lD&dc or acquirecl by me prior to my beine
           employed by the COMPANY unless JU.::h l'NVENTIONS arc idcnlified on a sheet altacltcd hcrolo and signed by me and tho
           COMPANY as of the elate of this Agrocmcnt.

      2.   1 raoosnizc tltat all works, lno:luding, but not limited to reports, t:omputcr prognms, drawings, doc:umcntalion and publicuion~, wbich
           I prepare withia the scope or my employment with the COMPANY, shall be works made for hire aoot that the worldwide copyright&



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                                                ABF.9l.A9A1F.                                     .J.Jeg epuotnl                 RIO :c:t SO 90            .Jdl:l


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     tblll'eia shall be the sole and exclusive property of the COMPANY. In tbc event that any said copyriglllablc work or portion tllcn:of
     shall not be h:sally qualified •~ a work made for hire, or shall aubs~quenlly be so held to not be a work nuulc for hire, I aarcc to
     usign, an<! do hereby so usign to the COMPANY, all risht, titlo t.nd interest in and to said work or portion thereof. I will promptly
     and fully dlscloac: all such works to the COMPANY.

l.   I sball, whenever rcquc&lcd to do so by lbe COMPANY, excculc any applic:aliou, assignments or other Instruments whiob the
     COMPANY shaJI consider occcssary to apply for aDd obtaio Lcllcra Palcat, trademark iuullor copyright regi1tratlonl in lbe United
     State&, or any foreign country, or to protect otherwise the COMPANY's interests, These obllaaliona shall condnue beyond the
     termination or my omploymant with the COMPANY with ra1pcct to INVENTIONS, trademarb or copyrightable works conceived,
     authored or made by me during my period or employmeat, and thall be biudinll llfiOD my ucc:uton, admiaialn.tors, or olll;r legal
     representatives.

4.   I shall not diaclo~o to the COMPANY or induce tho COMPANY to use any secret, proprietary or confidcotial lnform11tion or material
     belonging to others, including my Conner employers, if aoy. I am aware of no agreement, coalracl, non-compete coveaant, liOn·
     disclosure/secrecy aem:mcnt or 1imilar raslriction tbat WCJuld Ia uy way restrict, limit or pr<~hibit my employment by the COMPANY
     that I bavc: not disclosed and prO'Iided to tb11 COMPANY.

S.   I rccoiltlizc that CONFIDENTIAL INfORMATION Is or 1reat value to' the COMPANY, thut the COMPANY bas legitimate business
     intcrnts in protecting ill CONFIDENTIAL INFORMA TlON, and tltat the disclosure to anyone not authoriz~:d to receive such
     information, including a CONFLICTING ORGANIZATION, will cause immediate irrq~arable injury to the COMPANY, Unleu I first
     secure the COMPANY'• wriucn consent, 1 will not disclose, use, disseminate, lecture upon or publi•b CONI'IDBNTIAL
     INFORMATION.         I understand and agree thal my obligations not to disclose, utc, disseminate, lccU&re upon or publish
     CONFIDENTIAL INFORMATION shall continue after termination of my employment for IUIY reason.

6.   During my employment with lite COMPANY aad Cor a period or eightcc11 ( 18) months aflcr temiaalioa of my employment with the
     COMPANY for aay reason, I will aat render scrviccs, directly or indir;ctly, to aay CONFLICTING ORGANIZATION in the United
     States, or in any foreign couatry or territory In which the nrviccs I may provide could enh1111ce the usc or marketability of a
     CONFLICTING l'llODUCT by application of CONFIDENTIAL INFORMATION which 1 ahall have had acceu to duriag my
     employment, except that I may accept employment wilh a CONFLICTING ORGANIZATION whose busil!eS8 it diversified and wbich
     is, as to that part of Its buiacn in which I accept employment, nat a CONFLICTINO ORGANIZATION, providccl that the
     COMPANY, prior to my acccpiiag .aucb employment, shall rec:cive separate written as!luraa~ satiafactary to the COMPANY from
     sucl'l CONFLICTING ORGANIZATION and ftom me, that I will not render services directly or lndin:ctly, for an 18-moath period, ia
     oonnccllon with any CONFLICTING PRODUCT. I al•o agree tbat during my employment wltb tbc COMPANY and for a period of 18
     months thcrcdter, I will not render services to any other organl:zation or person in a pa1ilion in which I could usc CONFIDENTIAL
     INFORMATION to the detriment of the COMPANY.

7.   I recognize tbat the COMPANY's relations with its IICOOu&ua, customers and clicnll repi'Cieats an important business asset tbat results
      from tho COMPANY'• significant invutmcot of its time and resource•· I furtber rc:coanizc that by virtue of my employment by the
     COMPANY, I have gained or may gain relationships with the accounts, customers and clienll of tbe COMPANY, aad because of such
     relelioaships, I could cause tbe COMPANY grut loss, damage, and imDiediate irreparable harm, if, durinc my employment by the
     COMPANY or subscqucatto the tcrmiaadon of such employment for any nuon, I should for myself or on behalf of 811)' other person,
     entity, firm or corporation, sell, offer for sale, or solicit ar aJSist in the salo of~ product or service that could compete with a product
     'or service being 1ald or developed by the COMPANY. I therefore agreo tbot during my employment with the COMPANY and for
     cigluccn (18) months aner termination of sucll employment for any reason, I will not solicit 11ny business from, sell to, or render any
     service to, or, directly or Indirectly, help others to sa licit busincsa from or render service or sell to, any cf' the accounts, customers or
     clients with wham l·have had contact during the last twelve (12) months of my employment with the COMPANY, for any purpose
     related to the sale of any such product or service. I abo agree that for a period of twelve: (12) months after icrmlnation of
     employment with the COMPANY for any reason, I will not solicit or hire on my OWD behalf, or on bebalr of others, any COMPANY
     anploy~:e.


8,   To enable the COMPANY to monitor my compliance with the obligations impo&ed by this Agreement, I aaree to Inform the
     COMPANY, at tbc time I give notice of my termi111tion of crnploymeot, of tbe Identity of my now employer and or my job title and
     reiJIOoaibil!tiea, 8ntl will continue to so iaform. the COMPANY, in writing, any time I c:hangc employment duriP& tho cishteca (18)
     monch• following tDnDinatioll or my employment will! the COMPANY for aay reason.

9.   If I am unable to obtain employment c:oasiatant with my training and education solely bcc:ause of • prohibition of paragraph 6 or 7 or
     this Agreement, or if I am· able to obtain only a position in which my Oroas Mo11thly Pay is less than wh11t I lut r;ccived from the
     COMPANY 11 Gro11 Monthly Pay, thea any prohibition of thoae panarapbs that c:auaed me to be unable to obtain such employment
     (or that is responsible for tbe above-referenced differential io pay}, shall bind me only as long as the COMPANY abull make monthly
     p&ymcnt to me equal to the lc&sar of {a) the amount lut received from tbe COMPANY as GroSI Monthly Pay, or (b) the difference
     between my lut Grou Monthly Pay at the COMPANY aDd my Gross Monthly Pay In any subsequent employment. Oross Monthly
     Pay shall conaist of the sum or the following applicable amounts, prorated to a monthly basis: my annual baac pay, annUli
     comtniasiona, year·end nsh bonus, and the monetary value of my year-end stock award (but not stock option grants, any other extra
     compen•ation or benefits). My Grou Monthly Pay 111 the: COMPANY will be based on the amounts actually received by me durins
     the last twelve calendar months 1 was employed by the COMPANY. My Grosa Monthly Pay In aay aubsequeat employment will be
     b:ued on a projoction orthe amounts to be received by me during the first twcl\le months in that employment.

10. In order to qualify for the payments provided for ia paragraph 9 abon, I understancl tbat 1 must, for each month that 1 claim payment
    is due, rcpres~:nt to the Vi~:e Prcsidcnl or Human Resources of the COMPANY, in writing within lif'tcen ( 1.5) days following the end
                                                                  • 2•                                                         R.aviscd 11/02/04




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    of that calendar month, that allhough I diligently &ought cmploymenl consistent with my training and education, I waa unable 10
    obtain it, or was u11.1ble to attllin a position in which my CJross Monthly Pay equaled wbat 1 last rcocivcd from the COMPANY q
    Gross Moathly Pay, as the cas~ may be, solely becauae of a prohibitiom of para~pb 6 or 7 of this Agreement. I must slao promptly
    submit such fUrther information as the COMPANY may request 10 enable It to verity the accuracy of my rcpresentacioa. I Wlderaland
    tbatthe COMPANY shall, at ita option, be relieved or malting a monthly payment to me ror any month wilh respect to which I have
    failed to comply with a requirement of this paR&TIIph I 0.

ll. I further underatapd that If, 111 any time: witbin the period of prohibitioll specified in paragraph 6 or 7. the COMPANY gives me a
    wrillen release from the prohibilioa of paragraph 6 or 7 tllat haa beca the solo cau~e: of my inability to obtain employment consistent
    with my training and education or my inability to obtain 1 position In which my Orou Monthly Pay equals what I last received from
    the COMPANY as Grou Monthly Pay, as the cno may be, tbcn, the COMPANY will no longer be obligated to make the paymcnt.t
    tbat had been required due to thoso probibitiou.'

12. Upon tcnnination or my employment with. the COMPANY for any reason, I shall tum over too designated individual employed by the
    COMPANY, all property then io my possenlon or custody and beloncing to tbc COMPANY, including any computet equipment. I
    shall not retain any copies of corrcapondcnco, memoranda, reports, nota books, ctrawinp,. photographs, or other doeum~;~~ts in any form
    whatsoever (inc:luding infonnation contAined in computer memory or on any computer disk) relatina in •~Y way to the affaln of the
    COMPANY and which wore entrusted to rile or obtained by me at a11y time during my employment with the COMPANY.

13. I understand aad aclcnowledgc that if 1 ''iolatc this Agreomcnn or am about to violate this Agreement by disclosing or using
    information prohibited by paragraph ' above, accepting employment or providing services prohibited by paragraph 6 or 7 above, or
    failing to turn ovc:r property u required by par~aarapb l l above, tbc: COMPANY ehall have the right, and be entitled to, In addillon to
    any other remedies it may have, injunctive relief; in other words, I undc:ntand and acknowledge that the COMPANY can bar me from
    disclosing or using such infonnation, bar me from acceptinl: such cmployment or rendering auch services for the pcriads specified in
    paragraph~ 6 and 7 above, and require that 1 turn over such propcrt)l.


14, I hereby cooacnt aod agree to usignmcnt bytbc COM PA NV of thi$ Agrccmc:nt and all rights and oblisationJ hcrelilldcr includina, but
    not limited to, an assignment in connection with any merger, aale, transfer or acquisition by the COMPANY or relating to all or part
    of ils asset~. divisions and/or affiliates.

I_,, Nolhinc herein sballlimil or reduce my commoa law duties to the COMPANY, including but not limited to my duty of loyalty.

16. This Asrccmcnt shall be interpreted according to the laws of the State of New Jersey without resard to the conflict of law rules
    thereof. I asree that any action relilling to or arising out of this Agreement may be brought in the courts of the State of New Jcr"y
    or, if subject matter juri~diction exists, in th Uoited States Dinrict Court for the District of New Jauey. I consent to personal
    jurisdiction and venue in both auch court& and to service of process by United Slates Ma.il or express courier service in any such
    action.

17. In the event that any provision of thia Aareamcnt Is invalidated or unenforceable under applicable law, that &hall not affect the
    validity or enforceability of the remaining provisions. To tho cx.tontthat ~ny provision of this Agreement is unenforceable because it
    is ovcrbro:ul, that provision shall bo limited to the extent required by applicable law and enforced 11 so limited.

18. The following applies only to a California. Minnesota or North Caroling cmplgyu: Notification is hereby given that paragraph I
    does not apply to an i11vention 1o the ex.tentthat no equipment, supplies, facility, or trade secret information of the COMPANY was
    used and which was developed eolircly by me on my own time, and (a) which doc:& not relate (i) to the businen of the COMPANY or
    (ii) to the COMPANY's actual or demonstrably anticipated research or development, or (b) which docs not result from any work
    performed by me for tbe COMPANY.

19. Tbp following applies only to • St11ta of W8!hington pmployee: Notification is hereby 11iven that pangrapb I docs not apply to on
    invention for which no equipment, supplies, facility, or tnde secret information of the COMPANY was used and which was
    developed entirely on my own time, uuieu (a) the invention relates (i) directly to the business of the COMPANY or (ii) to tbc
    COMPANY's ~ctual or demonstrably antlc:ipated research or development, or (b) the Invention rosulla from any work performed by
    me for tbD COMPANY.

20. The followjlla applies ooly to these sityations: (i) while I am biSed jn California while cmaloycd by the COMPANY: em while I am
    employod by 1 IN!rtoflhc COMPANY that Is basel in California· or Cjjjl wbjlc lam buc!l in Ca!ifomja after my emPloyment wjth the
    COMPANY ends:

    (a) Tho prohibitions set forth in Paragraph 6 above limiting my ability to provide servicn during tho 18 month period after the
        termination of my employment shall not apply. I agree, however, that it will be presumed that aoy services I provide for a
        CONFLICTING ORGANIZATION dt&ring that period threaten misuse of the COMPANY'S CONFIDENTIAL INFORMATION
        and I agree that I will have the burden to rebut that presumption In any dispute concerning auch services. I alao agree that it will
        be pre~umed that I have misused the COMPANY's CONFIDENTIAL INFORMATION in the course of providing s~ch scrvicc1
        and I &gree that I will have the burden or rebutting auch presumplloo in any disputa concerning such services. However, 'uc:h
        presumptions $hall not apply to 1crvicc1 that I provide to a CONFLICTING ORGANIZATION whose busineu is diversified and
        which is, as ta that part of its businc» to which I provide Jervice&, not a CONI'LICTING ORGANIZATION.



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    (li) To enable the COMPANY to monitor my compliance with the obligations imposed by this Agreement and prou:ct its legitimate
        intcrcsu, I agree to volunlllrily provi4c information roqucst;d by the COMPANY about any tcrviccs I provide to a
        CONFLICTINO OkOA'NIZATION dorias the 18 month period after tlle termination of my employment wilh the COMPANY
        except with respect to .erviccs I provide 10 a CONFLICTING OROANIZATION whose bWiineu is diversified and which ia, 111 to
        IIIII put of its busincsl to which I provide servic~:s, nota CONFL!CTI'NG OROANIZATION. The COMPANY shall not usc
        Information provided by me pursuant to this paraarapll exceptio enforce my obligations to the COMPANY or to remedy brcacbu
        or unlawful interference by otb111rs wi1h my obligations to the COMPANY. Ia responding to any such requests for information, 1
        &hall not disclose to tbe COMPANY any trade ucrct, proprietary or confidential lnformadon belonging to aoy others. In
        add.ltlon, nathins in this paragraph shall alll:r the COMPANY's rishts to usc information received pursuant to Pangrapb 3 of tbis
        Agreement or to rcc:eive the information required punuanlto Paragrapb I of Ibis Agrocmcnt.

    (c) The following shall replace the last sentence of Paragraph 7 above: I, thus, agree that for a period of twelv~ {12} months after
        termination of. employment with the COMPANY far any reason, I will not solicit or rccruit·on my own behalf, or on behalf of
        albers. any COMPANY personnel.

ll. Nothing cont&incd in this Acrcementshall be deemed to confer on me any righu witb respect to tbc duratloc of my employment with
    the COMPANY. I UNDERSTAND AND AGRB! THAT MY EMPLOYMENT RELATIONSHIP WITH THE COMPANY IS
    TERMINABLE AT WILL BY EITHER THE COMPANY OR ME, WITH OR WITHOUT CAUSE, EXCEPT THAT IF IIN!TIATB
    THE TERMINATION, THERE SHALL BE, AT THE COMPANY'S OPTION, A PERIOD Of UP TO FOURTEEN (14) DAYS
    AFTER I GIVE WR11TE'N NOTICE OF TERMINATION BEFORE THE TERMINATION BECOMES EfFECTIVE. If the
    COMPANY elects to continue my employment during the notice JICriod, it aball advi•e me of that fact, a~~d of the dqntion of tho
    notice period. During any notice period, l will provide such transitional services a1 the COMPANY may request. The COMPANY
    will b11 obligucd to continue my pay during lite notice period, and my duty or loyally to the COMPANY shall continuo through sucb
    period.

I ACKNOWLEDGE HAVING READ, EXECUTED AND RECEIVED A COPY OF THIS AGREEMENT, and a&rcc lhat with reapect 10 the
aubjcct mauer hereof it II my entire asreemenl wilh tho COMPANY, superscdina any previous oral or written communication!,
rcprca~:nllltions, undoutanding&., or agree s wtt he COMPANY or any 'Ia officials or reprucntatlves.


DATE:   '-l:-5-= 05
                                            ~:OYEE                 i)
                                            ~DoJa                  .OD.rr

                                            Address

                                           ~bceJp
                                           City/State ~
                                                       ooc~              LA.        "l UDlo




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                                     RRP.~I.A!l!A     tF.:


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   EXHIBITB




                                                                    JANREM0113026
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January 3, 2000                                                        Cordis
                                                                     a got..~ company


Revised from letter dated December 28, 1999                               Cordis Corporation
                                                                    14201 N.W. 60th Avenue
                                                                     Miami Lakes, FL 33014
Mr. Bart Fitzpatrick                                                 Phone (305) 824-2000
                                                                       Fax (305) 824-2080
3954 Devonshire Drive
                                                                         Mailing Address:
Cincinnati, Ohio 45226                                                    P.O. Box 025700
                                                                   Miami, FL 33102-5700


Dear Bart,

I am pleased to confirm on behalf of Cordis Corporation an offer of employment for the
position of Sr. Sales Representative, Cardiology Systems for the Cincinnati North
territory. This position will report to Chris Barys, Division Manager. Your base
compensation will be $52,400.00 annually.

You will receive a six-month guarantee of $4,583.00 per month to be paid as follows.
During the first three months of employment you will be paid a guarantee of $4,583.00
per month. At the end of the fourth, fifth, and sixth months, the guarantee will be
reconciled against your earned commissions. Should your earned commissions exceed
the guarantee, you will be paid the greater amount at the end of each month.

This offer is contingent upon your successful completion of a pre-placement physical
examination, which includes a drug screen; a background check of both your academic
and professional credentials; a credit review and compensation verification, which will
be conducted by an outside agency; presentation of appropriate work authorization
papers (1-9); and your completed application. If, for any reason, you do not meet the
necessary requirements, this offer of employment is void and Cordis Corp. is under no
obligation to hire you for this or any other position.

This offer is also contingent upon execution of the attached Employee Secrecy, Non-
Competition and Non-Solicitation Agreement. The signed agreement must be returned
to me before you begin employment or relocation.

An expectation of both the Sales Management Team and the Sales Training
Department is that you maintain an 85% or higher score on all course work during
training. Course work includes exams, quizzes, homework and oral presentations.
Failure to successfully fulfill the requirements of this development program may result in
separation from the company. To help you meet this challenge; we will send you a
copy of our pre-training study guide.




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All compensation indicated in this letter is subject to continued employment and
satisfactory job performance. This offer letter constitutes our complete offer package to
recognize your job responsibilities. Any promises or representation, either oral or
written, that are not contained in this letter are not valid and are not binding on the
Company.

Cordis employs an Employee Dispute Resolution Program (Common Ground) as the
exclusive means for attempting to resolve disputes between employees and the
Company. In accepting this position, you agree to process all employment related
claims against the Company through this Program.

Cordis, like other Johnson & Johnson companies, maintains an employment-at-will
relationship with its employees. This means that both you and the Company retain the
right to terminate this employment relationship at any time and for any reason.

Upon being employed, you will be able to participate in the Johnson & Johnson benefits
program. Benefits will be administered by the Benefit Service Center and an enrollment
package will be mailed directly to your home. A toll free number will be available for
any benefit questions you may have.

Please signify your acceptance of this offer of employment by signing below and
returning the original letter to me. A photocopy of this offer letter is included for your
records. If you have any questions about the information in this letter, please call me at
(305) 824-2722. If you wish, you may fax the letter back at (305) 824-2600.

Welcome to Cordis. I want to wish you luck in your new position!

Sincerely,



':!at.'!o~r::awJ
Human Resources Administrator


cc: Chris Barys


Agree and accepted:


iJ                                               Date
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                                                        I




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                                                                                                                   CotrUIS
      EMPLOYEE SECRECY, NON-COMPETITION                                                                                ~~!
      AND NON-SOLICITATION AGREEMENT

      Name of Employee:
                                                                                                                       Cordis Corporation
      Residence Address:                                                                                        14201 N. W. 60th Avenue
                                                                                                                 Miami Lakes, FL 33014
                                                                                                                 Phone (305) 824·2000
                                                                                                                   Fax (305) 824-2080.
                                                                                                                      Mal1ing Address:
      DEFINITIONS                                                                                                    P.O. Box 025700
                                                                                                               Miami, FL 33102-5700
      As used in this agreement:

      the COMPANY means CORDIS CORPORATION, and JOHNSON & JOHNSON and any of their successors or assigns, purchasers, acquirers,
      and any of their existing and future subsidiaries, divisions or affiliates, including any such subsidiary, division or affiliate of Johnson &
      Johnson to which I may be transferred or by which I may be employed in the future. Affiliates of the COMPANY are any corporation, entity or
      organization more than 30% owned by the COMPANY, by Johnson & Johnson or by any subsidiary of Johnson & Johnson.

      !   means the employee whose name appears above, also referred to by the use of first person pronouns, such as me and my.
                                         I                                 '

      INVENTIONS means discoveries, improvements and/or ideas, whether patentable or not.

      CONFIDENTIAL INFORMATION means information disclosed to me or known by me as a result of my employment by the COMPANY, not
      generally known to the trade or industry in which the COMPANY is engaged, about products, processes, machines, customers, clients,
      employees and services of the COMPANY, including, but not limited to, inventions, research, development, manufacturing, purchasing, finance,
      data processing, engineering, marketing, merchandising, selling, sales volumes and strategies, number and location of sales representatives,
      names and ;ignificance of the COMPANY's customers and clients and their employees and representatives, preferences, needs and requirements,
      purchasing histories, and other customer or client-specific information and comparable information about the products, processes, machine;,
      customers, clients and services of affiliates of the COMPANY acquired by me during. my employment by the COMPANY .
 .,

'•i   CONFLICTING PRODUCT means any product, process, machine, invention or service of any person or organization other than the COMPANY
      in existence or under development which resembles or competes with a product, process, machine, invention or service upon which I shall have
 i    worked or about which I become knowledgeable as part of my job responsibilities during my tenn of employment with the COMPANY and
      whose usc or marketability could be enhanced by application to it of CONFIDENTIAL INFORMATION which l shall have had access to during
      my employment.

      CONFLICTING ORGANIZATION means any person or organization which is engaged in or about to become engaged in research on,
      consulting regarding, or development, production, marketing, or selling of a CONFLICTING PRODUCT.

                  I recognize that the business in which the COMPANY is engaged is extremely competitive and that the COMPANY will be providing
      me with CONFIDENTIAL INFORMATION both at the commencement of my employment and thereafter and may also be providing me with the
      opportunity to contribute to the creation of CONFIDENTIAL INFORMATION, which will assist both the COMPANY and me in competing
      effectively. I recognize that CONFIDENTIAL INFORMATION is significant to the COMPANY'S competitive position and that the COMPANY
      tJ:!erefore expects me to keep it secret and also expects me not to compete with the COMPANY during my employment and for a period of time
      thereafter.

              Accordingly, in consideration of the receipt of CONFIDENTIAL INFORMATION and my employment or the continuation of my
      employment by the COMPANY:

      I.     I agree to disclose promptly to the COMPANY all INVENTIONS conceived or made by me whether or not during my hours of employment
             or with the use of the COMPANY's facilities, materials or personnel, either solely or jointly with another or others during my employment'
             with the COMPANY, and related to the actual or anticipated bu;incss or activities of the COMPANY, or related to its actual or anticipated
             research and development or suggested by or resulting from any task assigned to me or work performed by me for, or on behalf of, the
             COMPANY. I assign and agree to assign my entire right, title and interest therein to the COMPANY. I will not assert any rights under or
             to any INVENTIONS as having been made or acquired by me prior to my being employed by the COMPANY unless such INVENTIONS are
             identified on a sheet attached hereto and signed by me and the COMPANY as of the date of this agreement.


      2.     I recognize that all works, including, but not limited to reports, computer programs, drawings, documentation and publications, which I
             prepare within the scope of my employment with the COMPANY, shall be works made for hire and that the worldwide copyrights therein
             shall be the sole and exclusive property of the COMPANY. 1 will promptly and fully disclose all such works to the COMPANY.


      3.     1 shall, whenever requested to do so by the COMPANY, execute any applications, assignments or other instruments which the COMPANY
             shall consider necessary to apply for and obtain Letters Patent and/or copyright registrations in the United States, or any foreign country, or
             to protect otherwise the COMPANY's intere$tS. These obligations shall continue beyond the termination of my employment with the




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              COMPANY with respect to INVENTIONS or copyrightable works conceived, authored or made by me during my period of employment,
              and shall be binding upon my executors, administrators, or other legal representatives.


        4.    I shall not disclose to the COMPANY or induce the COMPANY to use any secret, proprietary or confidential information or material
              belonging to others, including my former employers, if any. I am aware of no agreement, contract, non-compete covenant, non-
              disclosure/secrecy agreement or similar restriction that would in any way restrict, limit or prohibit my employment by the COMPANY that
              I have not disclosed and provided to the COMPANY.


        S.    I recognize that CONFIDENTIAL INFORMATION is of great value to tbe COMPANY, that tbe COMPANY bas legitimate business
              interests in protecting its CONFIDENTIAL INFORMATION, and that tbe disclosure to anyone not authorized to receive such information,
              including a CONFLICTING ORGANIZATION, will cause immediate irreparable injury to the COMPANY. Unless I first secure the
              COMPANY's written consent, I will not disclose, use, disseminate, lecture upon or publish CONFIDENTIAL INFORMATION. 1
              understand and agree that my obligations not to disclose, use, disseminate, lecture upon or publish CONFIDENTIAL INFORMATION shall
              continue after tennination of my employment for any reason.


        6.    I will not render services, directly or indirectly, to any CONFLICTING ORGANIZATION in tbe United States or Canada, or in any other
              foreign country or territory in which I performed services for the Company, for a period of eighteen (18) months after termination of my
              employment with the COMPANY for any reason, except that I may accept employment with a CONFLICTING ORGANIZATION whose
              business is diversified and which is, as to that part of its business in which I accept employment, not a CONFLICTING ORGANIZATION,
              provided the COMPANY, prior to my accepting such employment, shall receive separate written assurances satisfactory to the COMPANY
              from such CONFLICTING ORGANIZATION and from me, that I will not render services directly or indirectly, for an 18-month period, in
              connection with any CONFLICTING PRODUCT.


        7.    I recognize that the COMPANY's relations with its accounts, customers and clients represents an important business asset that results from
              the COMPANY's significant investment of its time and resources. I further recognize that by virtue of my employment by the COMPANY,
              I have gained or may gain relationships with the accounts, customers and clients of the COMPANY, and because of such relationships, I
              could cause the COMPANY great loss, damage, and immediate irreparable harm, if, during my employment by the COMPANY or
              subsequent to the termination of sucb employment for any reason, I should for myself or on behalf of any other person, entity, firm or
              corporation, sell, off<:r for sale, or solicit or assist in the sale of a product or service that could compete with a product or service being
              sold or developed by the COMPANY. I therefore agree that during my employment with the COMPANY and for eighteen (18) months after
              termination of such employment for any reason, I will not solicit any business from, sell to, or render any service to, or, directly or
              indirectly, help others to solicit business from or render service or sell to, any of the accounts, customers or clients with whom I have had
              contact during the last twelve (12) months of my employment with the COMPANY, for any purpose related to the sale of any such product
              or service. I also agree that for a period of twelve (I 2) months after termination of employment with the COMPANY for any reason, I will
              not solicit or hire on my own behalf, or on behalf of others, any COMPANY employee.


        8.    To enable the COMPANY to monitor my compliance with the obligations imposed by this Agreement, I agree to inform the COMPANY, at
              the time I give notice of my termination of employment, of the identity of my new employer and of my job title and responsibilities, and
              will continue to so inform the COMPANY, in writing, any time I change employment during the eighteen (18) months follow.ing
              termination of my employment by the COMPANY for any reason.                                         ·


        9.     If I am unable to obtain employment consistent with my training and education solely because of prohibitions of paragraphs 6 or 7 of this
             · Agreement, the prohibitions of those paragraphs that have caused me to be unable to obtain such employment shall bind me only as long as
               the COMPANY shall make payments to me equal to my monthly base pay at termination (exclusive of extra compensation and employee
               benefits) for each month of such unemployment for the period of the prohibition specified in paragraphs 6 and 7, provided that I am in
               compliance with paragraphs 8, I 0 and 11 of this Agreement.


        10. I will, for each month of such unemployment for which I claim payment, give the COMPANY a detailed written account of my efforts to
            obtain employment, and such account will include a statement by me that, although I conscientiously sought employment consistent with
            my training and education, I was unable to obtain it solely because of a prohibition of paragraphs 6 or 7 of this Agreement. It will also
            specify which particular prohibition caused me to be unable to obtain the employment. I will submit such account to the Vice President,
            Human Resources of the COMPANY within fifteen (IS) days following the end of each calendar month of my unemployment, and the
            COMPANY sha11 make a payment to be equal to my monthly base pay at termination. It is understood that the COMPANY shall, at its
            option, be relieved of making a monthly payment to me for any month with respect to which I have failed to account to the COMPANY, as
            required by this paragraph 10.


        11. If after termination of my employment with the COMPANY, I obtain other employment but, solely because of the prohibitions of
            paragraphs 6 or 7 of this Agreement, my position is such that my gross monthly income will be less than what I last received from the
            COMPANY as regular monthly base pay, then tbe COMPANY's obligation to make payments to me for the period specified in paragraphs 6
            and 7 will be limited to the difference between the amount I last received from the COMPANY as regular monthly base pay, and the gross
            monthly income I will receive in my subsequent employment. However, I understand that I must provide appropriate written
            documentation from my employer verifying my compensation to support my claim for entitlement to this salary differential.


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12. If the COMPANY, at any time within the period of prohibition specified in paragraphs 6 and 7, gives me a written release from the
    prohibitions of paragraphs 6 and 7 that have been the sole cause of my inability to obtain employment consistent with my training and
    education or my inability to obtain a position in which my gross monthly income equals my last regular monthly base pay at the
    COMPANY, the COMPANY will thereafter no longer be obligated to make the payments that had been required due to those prohibitions.


13. Upon termination of my employment with the COMPANY, either prior to or upon my retirement, I shall tum over to a designated individual
    employed by the COMPANY, all property then in my possession or custody and belonging to the COMPANY, including any computer
    equipment. I shall not retain any copies of correspondence, memoranda, reports, notebooks, drawings, photographs, or other documents,
    including electronic information and property, relating in any way to the affairs of the COMPANY and which were entrusted to me or
    obtained by me at any time during my employment with the COMPANY.


14. I understand and acknowledge that if I violate this Agreement or am about to violate this Agreement by accepti~g employment or providing
    services prohibited by paragraph 6 or 7 above, the COMPANY shall have the right, and be entitled to, in addition to any other remedies it
    may have, injunctive relief; in other words, I understand and acknowledge that the COMPANY can bar me from accepting such employment
    or rendering such services for the periods specified in paragraphs 6 and 7 above.


IS. I hereby consent and agree to assignment by the COMPANY of this Agreement and all rights and obligations hereunder including, but not
    limited to, an assignment in connection with any merger, sale, transfer or acquisition by the COMPANY or relating to all or part of its
    assets, division and/or affiliates.


16. Nothing herein shall limit or reduce my common law duties to the COMPANY, incl~ding but not limited to my duty of loyalty.


17. This agreement shall be interpreted according to the laws of the State of New Jersey without regard to the conflict of law rules thereof.


18. In the event that any provision of this Agreement is invalidated or unenforceable under applicable law, that shall not affect the validity or
    enforceability of the remaining provisions. To the extent that any provision of this Agreement is unenforceable because it is overbroad,
    that provision shall be limited to the extent required by applicable law and enforced as so limited.


19. The following applies only to a California, Minnesota or North Carolina employee: Notification is hereby given that paragraph I does not
    apply to an invention to the extent that no equipment, supplies, facility, or trade secret information of the COMPANY was used and which
    was developed entirely by me on my own time, and (a) which docs not relate (i) to the business of the COMPANY or (ii) to the
    COMPANY's actual or demonstrably anticipated research development, or (b) which does not result from any work performed by me for the
    COMPANY.


20. The following applies only to a State of Washington employee: Notification is hereby given that this agreement does not apply to an
    invention for which no equipment, supplies, facility, or trade secret information of the COMPANY was used and which was developed
    entirely on my own time, unless (a) the invention relates (i) directly to the business of the COMPANY or (ii) to the COMPANY's actual or
    demonstrably anticipated research development, or (b) the invention results from any work performed by me for the COMPANY. ·


21. Nothing contained in this agreement shall be deemed to confer on me any rights with respect to the duration of my employment with the
    COMPANY. I UNDERSTAND AND AGREE THAT MY EMPLOYMENT RELATIONSHIP WITH THE COMPANY IS TERMINABLE AT
    WILL BY EITHER THE COMPANY OR ME, WITH OR WITHOUT CAUSE, EXCEPT THAT IF I INITIATE THE TERMINATION, THERE
    SHALL BE, AT THE COMPANY'S OPTION, A PERIOD OF UP TO FOURTEEN (14) DAYS AFTER I GIVE WRITTEN NOTICE OF
    TERMINATION BEFORE THE TERMINATION BECOMES EFFECTIVE. IF THE COMPANY ELECTS TO CONTINUE MY
    EMPLOYMENT DURING THE NOTICE PERIOD, IT SHALL ADVISE ME OF THAT FACT, AND OF THE DURATION OF THE NOTICE
    PERIOD. DURING ANY NOTICE PERIOD, I WILL PROVIDE SUCH TRANSITIONAL SERVICES AS THE COMPANY MAY REQUEST.
    THE COMPANY WILL BE OBLIOATED TO PAY ME MY FULL BASE SALARY DURING THE NOTICE PERIOD, AND MY DUTY OF
    LOYALTY TO THE COMPANY SHALL CONTINUE THROUOH SUCH PERIOD.

I ACKNOWLEDGE HAVING READ, EXECUTED AND RECEIVED A COPY OF THIS AGREEMENT, and agree that with respect to the subject
matter hereof it is my entire agreement with the COMPANY, superseding any previous oral or written communications, representations,
understandings, or agreements with the COMPANY or any ~sentatives.                            /

DATE:       f!)}aqfqg                                      ~~.. [)~L-z----
                1    r                                    EMPLOYEE                                /
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 EMPLOYEE SECRECY, NON-COMPETITION
 AND NON-SOLICITATION AGREEMENT
                                                                                                             Cnrdis
                                                                                                            a ~~g.,t.....mcompany

 Name of Employee:            ~~\~\o~q~                 Vv\'      \\x\1'-...o "s-~                               Cordis Corporation
                                                                                                           14201 N. W. 60th Avenue
                                :%?U0*~~'~
 Residence Address:
                                                                                                            Miami Lakes. FL 33014
                                                                                                            Phone (305) 824-2000
                                                                                                              Fax (305) 824-2080
                                                                                                                Mailing Address:
 DEFINITIONS                                                                                                    P.O. Box 025700
                                                                                                         Miami, FL 33102-5700
 As used in this agreement:

 the COMPANY means CORDIS CORPORATION, and JOHNSON & JOHNSON and any of their successors or assigns, purchasers, acquirers,
 and any of their existing and future subsidiaries, divisions or affiliates, including any such subsidiary, division or affiliate of Johnson &
 Johnson to which I may be tran~ferred or by wbi~h I may be employed in the future. Affiliates of the COMPANY are any corporation, entity or
 organization more than 30% owned by the COMPANY, by Johnson & Johnson or by any subsidiary of Johnson & Johnson.

! means the employee whose name appears above, also referred to. by the usc of first person pronouns, such as me and my.
 INVENTIONS means discoveries, improvements and/or ideas, whether patentable or not.

 CONFIDENTIAL INFORMATION means information disclosed to me or known by me as a result of my employment by the COMPANY, not
 generally known to the trade or industry in which the COMPANY is engaged, about products, processes, machines, customers, clients,
 employees and services of the COMPANY, including, but not limited to, inventions, research, development, manufacturing, purchasing, finance,
 data processing, engineering, marketing, merchandising, selling, sales volumes and strategies, number and location of sales representatives,
 names and significance of the COMPANY's customers and clients and their employees and representatives, preferences, needs and requirements,
 purchasing histories, and other customer or client-specific information and comparable information about the products, processes, machines,
 customers, clients and services of affiliates of the COMPANY acquired by me during my employment by the COMPANY.

 CONFLICTING PRODUCT means any product, process, machine, invention or service of any person or organization other than the COMPANY
 in existence or under development which resembles or competes with a product, process, machine, invention or service upon which I shall have
 worked or about which I become knowledgeable as part of my job responsibilities during my term of employment with the COMPANY and
 whose use or marketability could be enhanced by application to it of CONFIDENTIAL INFORMATION which I shall have had access to during
 my employment.

 CONFLICTING ORGANIZATION means any person or organization which is engaged in or about to become engaged. in research on,
 consulting rega,r:llng, or cevelopmcnt, production, niarke•ing, ur selling of a CONFLICTING PRODUCT.

           I recog.ni:r.e that the business in which the COMPANY is engaged is extremely competitive and that the COMPANY will be providing
 me with CONFIDENTIAL INFORMATION both at the commencement of my employment and thereafter and may also be providing me with the
 opportunity IC' •Jontribute to the creatioa of CONFIDENTIAL INFORMATION, which will assist both the COMPANY and me in competing
 effectively. I rec'Jgnize that CONFIDENTIAL INFORMATION is Jibniti::ant to the COMPANY'S competitive position and that the COMPANY
 therefore expects me to keep it secret and also expects me not to compete with the COMPANY during my employment and for a period of time
 thereafter.

        Accordingly, in consideration of the receipt of CONFIDENTIAL INFORMATION and my employment or the continuation of my
 employment by the COMPANY:

 I.   I agree to disclose promptly to the COMPANY all INVENTIONS conceived or made by me whether or not during my hours of employment
      or with the use of the COMPANY's facilities, materials or personnel, either solely or jointly with another or others during my employment
      with the COMPANY, and related to the actual or anticipated business or activities of the COMPANY, or related to it$ actual or anticipated
      research and development or suggested by or resulting from any task assigned to me or work performed by me for, or on behalf of, the
      COMPANY. I assign and agree to assign my ontirc right, title and interest therein to the COMPANY. I will not assert any rights under or
      to any INVENTIONS as having been made or acquired by me prior to my being employed by the COMPANY unless such INVENTIONS are
      identified on a she.et attached hereto and signed by me ancl the COMPANY as of the date of this agreement.


 2.   I recognize that all works, including, but not limited to repons, computer programs, drawings, documentation and publications, which I
      prepare within the scope of my employment with the COMPANY, shall be works made for hire and that the worldwide copyrights therein
      shall be the sole and exclusive property of the COMPANY. 1 will promptly and fully disclose all such works to the COMPANY.


 3.   I shall, whenever requested to do so by the COMPANY, execute any applications, assignments or other instruments which the COMPANY
      shall consider necessary to apply for and obtain Letters Patent and/or copyright registratiollS in the United States, or any foreign country, or
      to protect otherwise the COMPANY's interests. These obligations shall continue beyond the termination of my employment wilh the




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         COMPANY with respect to INVENTIONS or copyrightable works conceived, authored or made by me during my period of employment,
         and shall be binding upon my executors, administrators, or other legal representatives.


    4.   I shall not disclose to the COMPANY or induce the COMPANY to use any secret, proprietazy or confidential information or material
         belonging to others, including my former employers, if any. I am aware of no agreement, contract, non-compete covenant, non·
         disclosure/secrecy agreement or similar restriction that would in any way restrict, limit or prohibit my employment by the COMPANY that
         I have not disclosed and provided to the COMPANY.


    5.   I recognize that CONFIDENTIAL INFORMATION is of great value to the COMPANY, that the COMPANY has legitimate business
         interests in protecting its CONFIDENTIAL INFORMATION, and that the disclosure to anyone not authorized to receive such information,
         including a CONFLICTING ORGANIZATION, will cause immediate irreparable injury to the COMPANY. Unless I first secure the
         COMPANY's written consent, I will not disclose, use, disseminate, lecture upon or publish CONFIDENTIAL INFORMATION. I
         understand and agree that my obligations not to disclose, use, disseminate, lecture upon or publish CONFIDENTIAL INFORMATION shall
         continue after termination of my employment for any reason.


    6.   I will not render services, directly or indirectly, to any CONFLICTING ORGANIZATION in the United States or Canada, or in any other
         foreign country or territory in which I performed services for the Company, for a period of eighteen (18) months after termination of my
         employment with the COMPANY for any reason, except that I may accept employment with a CONFLICTING ORGANIZATION whose
         business is diversified and which is, as to that part of its business in which I accept employment, not a CONFLICTING ORGANIZATION,
         provided the COMPANY, prior to my accepting such employment, shall receive separate written assurances satisfactory to the COMPANY
         from such CONFLICTING ORGANIZATION and from me, that I will not render services directly or indirectly, for an 18-month period, in
         connection with any CONFLICTING PRODUCT.


    7.   I recognize that the COMPANY's relations with its accounts, customers and clients represents an important business asset that results from
         the COMPANY's significant investment of its time and resources. I further recognize that by virtue of my employment by the COMPANY,
         I have gained or may gain relationships with the accounts, customers and clients of the COMPANY, and because of such relationships, I
         could cause the COMPANY great loss, damage, and immediate irreparable harm, if, during my employment by the COMPANY or
         subsequent to the termination of such employment for any reason, I should for myself or on behalf of any other person, entity, firm or
         corporation, sell, offer for sale, or solicit or assist in the sale of a product or service that could compete with a product or service being
         sold or developed by the COMPANY. I therefore agree that during my employment with the COMPANY and for eighteen (18) months after
         termination of such employment for any reason, I will not solicit any business from, sell to, or render any service to, or, directly or
         indirectly, help others to solicit business from or render service or sell to, any of the accounts, customers or clients with whom I have had
         contact during the last twelve (12) months of my employment with the COMPANY, for any purpose related to the sale of any such product
         or service. I also agree that for a period of twelve (12) months after termination of employment with the COMPANY for any reason, I will
         not solicit or hire on my own behalf, or on behalf of others, any COMPANY employee.


    8.   To enable the COMPANY to monitor my compliance with the obligations imposed by this Agreement, I agree to inform the COMPANY, at
         the time I give notice of my termination of employment, of the identity of my new employer and of my job title and responsibilities, and
         will continue to so inform the COMPANY, in writing, any time I change employment during the eighteen (18) months followjng
         termination of my employment by the COMPANY for any reason.


    9.   If I am unable to obtain employment consistent with my training and education solely because of prohibitions of paragraphs 6 or 7 of this
         Agreement, the prohibitions of those paragraphs that have caused me to be unable to obtain such employment shall bind me only as long as
         the COMPANY shall make payments to me equal to my monthly base pay at termination (exclusive of extra compensation and employee
         benefits) for each month of such unemployment for the period of the prohibition specified in paragraphs 6 and 7, provided that I am in
         compliance with paragraphs 8, 10 and 11 of this Agreement.


    10. I will, for each month of such unemployment for which I claim payment, give the COMPANY a detailed written account of my efforts to
        obtain employment, and such account will Include a statement by me that, although I conscientiously sought employment consistent with
        my training and education, I was unable to obtain it solely because of a prohibition of paragraphs 6 or 7 of this Agreement. It will also
        specify which particular prohibition caused me to be unable to obtain the employment. I will submit such account to the Vice President,
        Human Resources of the COMPANY within fifteen (IS) days following the end of each calendar month of my unemployment, and the
        COMPANY shall make a payment to be equal to my monthly base pay at termination. It is understood that the COMPANY shall, at its
        option, be relieved of making a monthly payment to me for any month with respect to which I have failed to account to the COMPANY, as
        required by this paragraph 10.


    II. If after termination of my employment with the COMPANY, I obtain other employment but, solely because of the prohibitions of
        paragraphs 6 or 7 of this Agreement, my position is such that my gross monthly income will be less than what I last received from the
        COMPANY as regular monthly base pay, then the COMPANY's obligation to make payments to me for the period specified in paragraphs 6
        and 7 will be limited to the difference between the amount I last received from the COMPANY as regular monthly base pay, and the gross
        monthly income I will receive in my subsequent employment. However, I understand that 1 must provide appropriate written
        documentation from my employer verifying my compensation to support my claim for entitlement to this salary differential.

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12. If the COMPANY, at any time within the period of prohibition specified in paragraphs 6 and 7, gives me a written release from the
    prohibitions of paragraphs 6 and 7 that have been the sole cause of my inability to obtain employment consistent with my training and
    education or my inability to obtain a position in which my gross monthly income equals my last regular monthly base pay at the
    COMPANY, the COMPANY will thereafter no longer be obligated to make the payments that had been required due to those prohibitions.


13. Upon termination of my employment with the COMPANY, either prior to or upon my retirement, I shall tum over to a designated individual
    employed by the COMPANY, all property then in my possession or custody and belonging to the COMPANY, including any computer
    equipment. I shall not retain any copies of correspondence, memoranda, reports, notebooks, drawings, photographs, or other documents,
    including electronic information and property, relating in any way to the affairs of the COMPANY and which were entrusted to me or
    obtained by me at any time during my employment with the COMPANY.


14. I understand and acknowledge that if I violate this Agreement or am about to violate this Agreement by accepting employment or providing
    services prohibited by paragraph 6 or 7 above, the COMPANY shall have the right, and be entitled to, in addition to any other remedies it
    may have, injunctive relief; in other words, I understand and acknowledge that the COMPANY can bar me from accepting such employment
    or rendering such services for the periods specified in paragraphs 6 and 7 above.


15. I hereby consent and agree to assignment by the COMPANY of this Agreement and all rights and obligations hereunder including, but not
    limited to, an assignment in connection with any merger, sale, transfer or acquisition by the COMPANY or relating to all or part of its
    assets, division and/or affiliates.


16. Nothing herein shall limit or reduce my common law duties to the COMPANY, including but not limited to my duty ofloyalty.


17. This agreement shall be interpreted according to the laws of the State of New Jersey without regard to the conflict of law rules thereof.


18. In the event that any provision of this Agreement is invalidated or unenforceable under applicable law, that shall not affect the validity or
    enforceability of the remaining provisions. To the extent that any provision of this Agreement is unenforceable because it is overbroad,
    that provision shall be limited to the extent required by applicable law and enforced as so limited.


19. The following applies only to a California, Minnesota or North Carolina employee: Notification is hereby given that paragraph I does not
    apply to an invention 'to the extent tllat no equipment, supplies, facility, or trade secret information of the COMPANY was used and which
    was developed emirely by me on my own time, and (a) which docs not relate (i) to tile business of the COMPANY or (ii) to the
    COMPANY's actual or demonstrably anticipated research development, or (b) which does not result from any work performed by me for the
    COMPANY.


20. The following applies only to a State of Washington employee: Notification is hereby given that this agreement does not apply to an
    invention for which no equipment, supplies, facility, or trade secret information of the COMPANY was used and which was developed
    entirely on my own time, unless (a) the invention relates (i) directly to the business of the COMPANY or (ii) to the COMPANY's actual or
    demonstrably anticipated research development, or (b) the invention results from any work performed by me for the COMPANY.


21. Nothing contained in this agreement shall be deemed to confer on me any rights with respect to the duration of my employment with the
    COMPANY. I UNDERSTAND AND AGREE THAT MY EMPLOYMENT RELATIONSHIP WITH THE COMPANY IS TERMINABLE AT
    WILL BY EITHER THE COMPANY OR ME, WITH OR WITHOUT CAUSE, EXCEPT THAT IF !INITIATE THE TERMINATION, THERE
    SHALL BE, AT THE COMPANY'S OPTION, A PERIOD OF UP TO FOURTEEN (14) DAYS AFTER I GIVE WRITTEN NOTICE OF
    TERMINATION BEFORE THE TERMINATION BECOMES EFFECTIVE. IF THE COMPANY ELECTS TO CONTINUE MY
    EMPLOYMENT DURING THE NOTICE PERIOD, IT SHALL ADVISE ME OF THAT FACT, AND OF THE DURATION OF THE NOTICE
    PERIOD. DURING ANY NOTICE PERIOD, I WILL PROVIDE SUCH TRANSITIONAL SERVICES AS THE COMPANY MAY REQUEST.
    THE COMPANY WILL BE OBLIGATED TO PAY ME MY FULL BASE SALARY DURING THE NOTICE PERIOD, AND MY DUTY OF
    LOYALTY TO THE COMPANY SHALL CONTINUE THROUGH SUCH PERIOD.

I ACKNOWLEDGE HAVING READ, EXECUTED AND RECEIVED A COPY OF THIS AGREEMENT, and agree that with respect to the subject
matter hereof it is my entire agreement with the COMPANY, su          eding any previous oral or written communications, representations,
understandings, or agreements with the COMPANY or any of its of c' 'Is or cpresentativ s.




                                                          Address
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   EXHIBIT C




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: \
 /    EMPLOYEE SECRECY, NON-COMPETITION
      AND NON-SOLICITATION AGREEMENT                                                                             Cordis
                                                                                                                 a   9""'"""-g,t"""" company
      Name of Employee:
                                                                                                                      Cordis Corporation
      Residence Address:                                                                                       14201 N.W. 60th Avenue
                                                                                                                 Miami Lakes, FL 33014
                                                                                                                Phone (305) 824·2000
                                                                                                                  Fax (305) 824-2080
                                                                                                                     Mailing Address:
      DEFINITIONS
                                                                                                                    PO. Box 025700
                                                                                                              Miami, FL 3.9102-5700
      As used in this agreement:

      the COMPANY means CORDIS CORPORATION, and JOHNSON & JOHNSON and any of their successors or assigns, purchasers, acquirers,
      and any of their ellisting and future subsidiaries, divisions or affiliat=s, including any such subsidiary, division or affiliate of Johnson &
      Johnson to which I may be transferred or by which I may be employed in the future. Affiliates of the COMPANY are any corporation, entity or
      organization mote than 30% owned by the COMPANY, by Johnson & Johnson or by any subsidiary of Johnson & Johnson.

      ! means the employee whose name appears above, also referred to by the use of first person pronouns, such as me and my.
      INVENTIONS means discoveries, improvements and/or ideas, whether patentable or not.

      CONFIDENTIAL INFORMATION means information disclosed to me or known by me as a result of my employment by the COMPANY, not
      generally known to the trade or industry in which the COMPANY is engaged, about products, processes, machines, customers, clients,
      employees and services of the COMPANY, including, but not limited to, inventions, research, development, manufacturing, purchasing, finance,
      data processing, engineering, marketing, merchandising, selling, sales volumes and strategies, number and location of sales representatives,
      names and significance of the COMPANY's customers and clients and their employees and representatives, preferences, needs and requirements,
      purchasing histories, and other customer or client-specific information and comparable information about the products, processes, machines,
      customers, clients and services of affiliates of the COMPANY acquired by me during my employment by the COMPANY.

      CONFLICTING PRODUCT means any product, process, machine, invention or service of any person or organization other than the COMPANY
      in existence or under development which resembles or competes with a product, process, machine, invention or service upon which I shall have
      worked or about which I become knowledgeable as part of my job responsibilities during my term of employment with the COMPANY and
      whose use or marketability could be enhanced by application to it of CONFIDENTIAL INFORMATION which I shall have had access to during
      my employment.

      CONFLICTING ORGANIZATION means any person or organization which is engaged in or about to become engaged in research on,
      consulting regarding, or development, production, marketing, or selling of a CONFLICTING PRODUCT.

                I recognize that the business in which the COMPANY is engaged is extremely competitive and that the COMPANY will be providing
      me with CONFIDENTIAL INFORMATION both at the commencement of my employment and thereafter and may also be providing me with the
      opportunity to contribute to the creation of CONFIDENTIAL INFORMATION, which will assist both the COMPANY and me in competing
      effectively. I recognize that CONFIDENTIAL INFORMATION is significant to the COMPANY'S competitive position and that the COMPANY
      therefore ellpects me to keep it secret and also ellpects me not to compete with the COMPANY during my employment and for a period of time
      thereafter.

             Accordingly, in consideration of the receipt of CONFIDENTIAL INFORMATION and my employment or the continuation of my
      employment by the COMPANY:

      1.   I agree to disclose promptly to the COMPANY all INVENTIONS conceived or made by me whether or not durilig my hours of employment
           or with the use of the COMPANY's facilities, materials or personnel, either solely or jointly with another or others during my employment
           with the COMPANY, and related to the actual or anticipated business or activities of the COMPANY, or related to its actual or anticipated
           research and development or suggested by or resulting from any task assigned to me or work performed by me for, or on behalf of, the
           COMPANY. I assign and agree to assign my entire right, title and interest therein to the COMPANY. I will not assert any rights under or
           to any INVENTIONS as having been made or acquired by me prior to my being employed by the COMPANY unless such INVENTIONS are
           identified on a sheet attached hereto and signed by me and the COMPANY as of the date of this agreement.


      2.   I recognize that all works, including, but not limited to repons, computer programs, drawings, documentation and publications, which I
           prepare within the scope of my employment with the COMPANY, shall be works made for hire and that the worldwide copyrights therein
           shall be the sole and exclusive property of the COMPANY. 1 will promptly and fully disclose all such worlcs to the COMPANY.


      3.   I shall, whenever requested to do so by the COMPANY, execute any applications, assignments or other instruments which the COMPANY
           shall consider necessary to apply for and obtain Letters Patent and/or copyright registrations in the United States, or any foreign country, or
           to protect otherwise the COMPANY's interests. These obligations shall continue beyond the termination of my employment with the




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;.
          COMPANY with respect to INVENTIONS or copyrightable works conceived, authored or made by me during my period of employment,
          and shall be binding upon my executors, administrators, or other legal representatives.


     4.   I shall not disclose to the COMPANY or induce the COMPANY to usc any secret, proprietary or confidential information or material
          belonging to others, including my former employers, if any. I am aware of no agreement, contract, non-compete covenant, non-
          disclosure/secrecy agreement or similar restriction that would in any way restrict, limit or prohibit my employment by the COMPANY that
          I have not disclosed and provided to the COMPANY.


     S.   I recognize that CONFIDENTIAL INFORMATION is of great value to the COMPANY, that the COMPANY has legitimate business
          interests in protecting its CONFIDENTIAL INFORMATION, and that the disclosure to anyone not authorized to receive such information,
          including a CONFLICTING ORGANIZATION, will cause immediate irreparable injury to the COMPANY. Unless I first secure the
          COMPANY's written consent, I will not disclose, use, disseminate, lecture upon or publish CONFIDENTIAL INFORMATION. I
          understand and agree that my obligations not to disclose, use, disseminate, lecture upon or publish CONFIDENTIAL INFORMATION shall
          continue after termination of my employment for any reason.


     6.   I will not render services, directly or indirectly, to any CONFLICTING ORGANIZATION in the United States or Canada, or in any other
          foreign country or territory in which I performed services for the Company, for a period of eighteen (18) months after termination of my
          employment with the COMPANY for any reason, except that I may accept employment with a CONFLICTING ORGANIZATION whose
          business is diversified and which is, as to that part of its business in which I accept employment, not a CONFLI'cTING ORGANIZATION,
          provided the COMPANY, prior to my accepting such employment, shall receive separate written assurances satisfactory to the COMPANY
          from such CONFLICTING ORGANIZATION and from me, that I will not render services directly or indirectly, for an 18-month period, in
          connection with any CONFLICTING PRODUCT.


     7.   I recognize that the COMPANY's relations with its accounts, customers and clients represents an imponant business asset that results from
          the COMPANY's significant investment of its time and resources. I further recognize that by virtue of my employment by the COMPANY,
          I have gained or may gain relationships with the accounts, customers and clients of the COMPANY, and because of such relationships, I
          could cause the COMPAN.Y great loss, -damage, and immediate irreparable harm, if, during my employment by the COMPANY or
          subsequent to the termination of such employment for any reason, I should for myself or on behalf of any other person, entity, firm or
          corporation, sell, offer for sale, or solicit or assist in the sale of a product or service that could compete with a product or service being
          sold or developed by the COMPANY. I therefore agree that during my employment with the COMPANY and for eighteen (18) months after
          tennination of such employment for any reason, I will not solicit any business from, sell to, or render any service to, or, directly or
          indirectly, help others to solicit business from or render service or sell to, any of the accounts, customers or clients with whom I have had
          contact during the last twelve (12) months of my employment with the COMPANY, for any purpose related to the sale of any such product
          or service. I also agree that for a period of twelve (12) months after termination of employment with the COMPANY for any reason, I will
          not solicit or hire on my own behalf, or on behalf of others, any COMPANY employee.


     8.   To enabie the COMPANY to monitor my compliance with the obligations imposed by this Agreement, I agree to inform the COMPANY, at
          the time I give notice of my termination of employment, of the identity of my new employer and of my job title and responsibilities, and
          will continue to so inform the COMPANY, in writing, any time I change employment during the eighteen (18) months followjng
          termination of my employment by the COMPANY for any reason.


     9.   If I am unable to obtain employment consistent with my training and education solely because of prohibitions of paragraphs 6 or 7 of this
          Agreement, the prohibitions of those paragraphs that have caused me to be unable to obtain such employment shall bind me only as long as
          the COMPANY shall make payments to me equal to my monthly base pay at termination (exclusive of extra compensation and employee
          benefits) for each month of such unemployment for the period of the prohibition specified in paragraphs 6 and 7, provided that I am in
          compliance with paragraphs 8, 10 and II of this Agreement.


     10. I will, for each montb of such unemployment for which I claim payment, give the COMPANY a detailed written account of my efforts to
         obtain employment, and such account will include a statement by me that, although I conscientiously sought employment consistent with
         my training and education, I was unable to obtain it solely because of a prohibition of paragraphs 6 or 7 of this Agreement. It will also
         specify which particular prohibition caused me to be unable to obtain the employment. I will submit such account to the Vice President,
         Human Resources of the COMPANY within fifteen (IS) days following the end of each calendar month of my unemployment, and the
         COMPANY shall make a payment to be equal to my monthly base pay at termination. It is understood that the COMPANY shall, at its
         option, be relieved of making a monthly payment to me for any month with respect to which I have failed to account to the COMPANY, as
         required by this paragraph 10.


     II. If after termination of my employment with the COMPANY, I obtain other employment but, solely because of the prohibitions of
         paragraphs 6 or 7 of this Agreement, my position is such that my gross monthly income will be less than what I last received from the
         COMPANY as regular monthly base pay, then the COMPANY's obligation to make payments to me for the period specified in paragraphs 6
         and 7 will be limited to the difference between the amount I last received from the COMPANY as regular monthly base pay, and the gross
         monthly income I will receive in my subsequent employment. However, I understand that I must provide appropriate wrincn
         documentation from my employer verifying my compensation to support my claim for entitlement to this salary differential.


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12. If the COMPANY, at any time within the period of prohibition specified in paragraphs 6 and 7, gives me a written release from the
    prohibitions of paragraphs 6 and 7 that have been the sole cause of my inability to obtain employment consistent with my training and
    education or my inability to obtain a position in which my gross monthly income equals my last regular monthly base pay at the
    COMPANY, the COMPANY will thereafter no longer be obligated to make the payments that had been required due to those prohibitions.


13. Upon termination of my employment with the COMPANY, either prior to or upon my retirement, I shall tum over to a designated individual
    employed by the COMPANY, all property then in my possession or custody and belonging to the COMPANY, including any computer
    equipment. I shall not retain any copies of correspondence, memoranda, reports, notebooks, drawings, photographs, or other documents,
    including electronic information and property, relating in any way to the affairs of the COMPANY and which were entrusted to me or
    obtained by me at any time during my employment with the COMPANY.


14. I understand and acknowledge that if I violate this Agreement or am about to violate this Agreement by accepting employment or providing
    services prohibited by paragraph 6 or 7 above, the COMPANY shall have the right, and be entitled to, in addition to any other remedies it
    may have, injunctive relief; in other words, I understand and acknowledge that the COMPANY can bar me from accepting such employment
    or rendering such services for the periods specified in paragraphs 6 and 7 above.


15. I hereby consent and agree to assignment by the COMPANY of this Agreement and all rights and obligations hereunder including, but not
    limited to, an assignment in connection with any merger, sale, transfer or acquisition by the COMPANY or relating to all or pan of its
    assets, division and/or affiliates.


16. Nothing herein shall limit or reduce my common law duties to the COMPANY, including but not limited to my duty of loyalty.


17. This agreement shall be interpreted according to the laws of the State of New J crscy without regard to the conflict of law rules thereof.


18. In the event that any provision of this Agreement is invalidated or unenforceable under applicable law, that shall not affect the validity or
    enforceability of the remaining provisions. To the extent that any provision. of this Agreement is unenforceable because it is overbroad,
    that provision shall be limited to the extent required by applicable law and enfon:ed as so limited.


19. The following applies only to a California, Minnesota or North Carolina employee: Notification is hereby given that paragraph I does not
    apply to an invention to the extent that no equipment, supplies, facility, or trade secret information of the COMPANY was used and which
    was developed entirely by me on my own time:, and (a) which does not relate (i) to the business of the COMPANY or (ii) to the
    COMPANY's actual or demonstrably anticipated research development, or (b) which does not result from any work performed by me for the
    COMPANY.


20. The following applies only to a State of Washington employee: Notification is hereby given that this agreement docs not apply to an
    invention for which no equipment, supplies, facility, or trade secret information of the COMPANY was used and which was developed
    entirely on my own time, unless (a) the invention relates (i) directly to the business of the COMPANY or (ii) to the COMPANY's actual or
    demonstrably anticipated research development, or (b) the invention results from any work performed by me for the COMPANY.


21. Nothing contained in this agreement shall be deemed to confer on me any rights with respect to the duration of my employment with the
    COMPANY. I UNDERSTAND AND AGREE THAT MY EMPLOYMENT RELATIONSHIP WITH THE COMPANY IS TERMINABLE AT
    WILL BY EITHER THE COMPANY OR ME, WITH OR WITHOUT CAUSE, EXCEPT THAT IF I INITIATE THE TERMINATION, THERE
    SHALL BE, AT THE COMPANY'S OPTION, A PERIOD OF UP TO FOURTEEN (14) DAYS AFTER I GIVE WRITTEN NOTICE OF
    TERMINATION BEFORE THE TERMINATION BECOMES EFFECTIVE. IF THE COMPANY ELECTS TO CONTINUE MY
    EMPLOYMENT DURING THE NOTICE PERIOD, IT SHALL ADVISE ME OF THAT FACT, AND OF THE DURATION OF THE NOTICE
    PERIOD. DURING ANY NOTICE PERIOD, I WILL PROVIDE SUCH TRANSITIONAL SERVICES AS THE COMPANY MAY REQUEST.
    THE COMPANY WILL BE OBLIGATED TO PAY ME MY FULL BASE SALARY DURING THE NOTICE PERIOD, AND MY DUTY OF
    LOYALTY TO THE COMPANY SHALL CONTINUE THROUGH SUCH PERIOD.

I ACKNOWLEDGE HAVING READ, EXECUTED AND RECEIVED A COPY OF THIS AGREEMENT, and agree that with respect to the subject.
matter hereof it is my entire agreement with the COMPANY, superseding any previous oral or written communications, representations,


DATE:     (e   l') 3 I d-m
understandings, or agreements with the COMPANY or auy of its officials or representatives.


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                                                           EMPLOYEE



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                                                           City/State           .      .


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  EXHIBITD




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STEARNS WEAVER MILLER
WEISSLERALHADEFF & SITTERSON, P.A.
                                                                                                   Eric S. Roth
                                                                          150 West Flagler Street, Sulfe 2200
                                                                                             Miami, Fl 33130
                                                                                      Direct: (305) 789-3351
                                                                                        Fax: (305) 789-2657
                                                                            Email: eroth@stearnsweaver.com



October 19, 2009

VIA U.S. MAIL andFACSIMILE-763-398-7200

Kevin Klemz
Senior Vice ·President and Chief Legal Officer
eV-3, Inc.
Corporate World Headquartei.-s
9600 54h Avenue North
Plymouth, MN 55442-2111

Re:     Rhonda Barr and Bart Fitzpatrick

Dear Mr. Klemz:

We represent Cordis Corporation, and we are writing to you with respect to Rhonda Barr and
Bar.t Fitzpatrick, both of whom are former Cordis sales representatives who we understand have
recently accepted offers of employment With eV-3, Inc.; as sales representatives. We have some
concerns about Ms."Barr's and Mr. Fitzpatri~k's employment with eV-3.

Both Ms.· Barr and Mr. Fitzpatrick signed non-competition agreements at the commencement of
their employment with Cordis. Cordis takes very seriously matters involving its non-compete..
agreement.. The relevant provisions of the non-compete agreement Ms. Barr executed are as
follows (Mr. Fitzpatrick's agreement contains similar language):

        6.      During my employment with the COMPANY and for a period of eighteen (18)
        months after termination of my employment with the COMPANY for any reason I will
        not render services directly or indirectly, to any CONFLICTING ORGANIZATION in
        the United States or in any foreign coWltry OF territory in which the services I may
        provide could enhance the use or marketability of a CONFLICTIN"G- PRO.Q.UCT by
        application of CONFIDENTIAL INFORMATION which I shall have had access to
        during my employment, except that I may accept employment with a CONFLICTING
        ORGANIZATION whose business is diversified and which is, as to that p~rt of its
        business in which I accept employment, not a CONFLICTING ORGANIZATION,
        provided that the COMPANY, prior to my accepting such employment, shall receive
        separate written assurances satisfactory to.the COMPANY· from such CONFLICTING
        ORGANIZATION and from me, that I will not render services directly or indirectly, for
        an 18-month period, in connection with any CONFLICTING PRODUCT. I also agree



                     MIAMI • FORT LAUDERDALE • TAMPA • TALLAHASSEE




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       that during my employment with the COMPANY and for a period of 18 months
       thereafter, I will not render services to any other organization or person in a position in
       which I could use CONFIDENTIAL INFORMATION to the detriment of the
       COMPANY.

      · 7.       I recognize that the COMPANY'S relations with ~ts accounts, customers and
        clients represents an important business asset that results from the COMPANY'S
        significant investment of its time and resources. I further recognize that by virtue of my
        employment by the CO:MPANY, I have gained or may gain. relationships with the
        accounts, customers and clients of the COMPANY, and because of such relationships, I
        could cause the COMPANY great loss, damage and immediate irreparable harm, if,
        during my employment by the COMPANY or subsequent to the termination of such
        employment for any reason, I should for myself or on behalf of any other person, entity,
        finn or corporation, sell, offer for sale, or solicit or ·assist in the sale of a product or
        service that could compete with a product or service being sold or developed by the
        COMPANY. I therefore agree that during my employment with the COMPANY and for
        eighteen (18) months after termination of·such employment for any reason, I wiU not
        solicit any business from, sell to, or rtlnder any service to, or; directly or indirectly, help
        others to solicit business from or render service· or sell to, any of the accounts, customers
        or clients with whom I have had contact during the last twelve (12) months of my
        employment with the COMPANY, for any purpose ~elated to the sale of any such product
        or service. I also agree ~at for a period of twelve (12) months after tenn.ination of
        employment with the COMPANY for any reason, I will not solicit or hire on my own
        behalf, or on behalf of others, any COMPANY employee. ·

       CONFLICTING PRODUCT means any product, process, technology, machine, invention
       or service of any person or organization other than the COMPANY in existence or under
       development which resembles or competes w~t~ a product, process, technology, machine,
       invention or service upon which I shall have worked or about which I become
       knowledgeable as a· result of employment with the COMPANY and whose use or
       marketability could be enhanced by application to it of CONFIDENTIAL
       INFORMATION which I shall have had access to during my employment.

       CONFLICTING ORGANIZAITON means any person or organization which is engaged
       in or about to become engaged in research on, consulting regarding, or development,
       production, marketing, or selling of a CONFLICTING PRODUCT.

Cordis employed Ms. Barr until February 2009, During her tenure as a Cordis sales
representative, she called on accounts in Shreveport, Monroe and New Orleans, Louisiana as
well as Jackson and Vicksburg, Mississippi. Although primarily responsible for sales of Cordis'
cardiology products; Ms. Barr was also intimately involved with and knowledgeable about
Cordis' endovascular business. Of primary concern to Cordis is the fact that Ms. Barr developed
close relationships with physicians (including interventional cardiologists) w4o use endovascular
products- the products she is or will soon be promoting for eV -3. We understand that, as part of
her responsibilities for eV-3, she is or will be calling on the same hospitals and physicians she
called on during the last 12 months of her employment with Cordis. As such, she will be acting
in violation of her non-competition obligations to Cordis - both as to paragraph 6 (selling


               STEARNS WEAVER MILLER WEISSLER ALHADEFF & SITTERSON. P.A.




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    Conflicting Product) and as to paragraph 7 (soliciting her Cordis customers). Clearly, for the
    remaining 11 months on her non~compete agreement, she cannot, as part of her responsibilities
    for eV~3, call on those doctors, nurses, cath lab staffs, hospital administrators and hospitals she
    called on for Cordis without violating the terms of her non~compete agreement and her
    obligations to Cordis. We will not allow her to call on such accounts, customers or clients in
    violation of the non-competition agreement.

    Our concern with respect to Mr. Fitzpatrick relates primarily to whether he is or will be calling
    on any of the customers with whom he worked during his last 12 months as a Cordis sales
    representative. As with Ms. Barr, Mr. Fitzpatrick has relationships with many interventional
    cardiologists, some of whom perform peripheral procedures. If he is or will be calling on any of
    the same physicians/customers he worked with during the last 12 months of his employment with
    Cordis, he will be in violation of his non-compete agreement. We ask that you provide us with
    written assurance that Mr. Fitzpatrick will not, as part of his responsibilities for eV-3, solicit any
    business from o~ render service or sell to any of the accounts, physicians, customers or clients
    with whom he had contact during the last 12 months of his employment with Cordis.

  Compounding Cordis' concern is the belief that eV~3 may be specifically targeting Cordis
  employees for recruitment. Cordis previously addressed that very situation with FoxHollow
  before it became a part of eV-3 and we understand that some of the FoxHollow sales team is still
  with eV-3. As you may know, there are individuals in your company who are familiar with
  many of the Cordis sales representatives. We trust that eV-3 is not inappropriately using the
  confidential· information some of its employees may have about Cordis sales representatives to
. target Cordis' sales force for recruitment.

    Cordis is prepared to take appropriate measures to protect its interests. However, I welcome the
    opportunity to discuss this matter to see if we can reach an understanding that will allow Ms.
    Barr and Mr. Fitzpatrick to pursue employment with eY-3 without violating the terms of their
    Cordis non-compete agreements. Please contact me by October 23, 2009 if you would like to
    discuss an amicable resolution of this matter.




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    cc.                Rhonda Ban
                       Andrew Fitzpatrick




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                                    STEARNS WEAVER MILLER WEISSLER ALHADEFF & S!TIERSON. P.A.




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       I•
      ev3. Your endovascular company:



November 18,2009




Eric Roth, Esq.
Steams, Weaver, Miller, P .A.
150 West Flagler Street, Suite 2200
Miami, FL 33130

Re: Rhonda Barr and Bart Fitzpatrick

Dear Mr. Roth:

I am following up on our telephone conversations regarding ev3 's hiring of Rhonda Barr and
Bart Fitzpatrick. As we have discussed, both Cordis and ev3 would like to resolve our
differences regarding the hiring of these two individuals. With that in mind, ev3 presents to
you and your client the following proposal:

Bart Fitzpatrick

ev3 has reviewed the list of 46 accounts (either by hospital name and/or physician name)
submitted to us by Cordis, taken to be a comprehensive list of accounts Bart was responsible
for during his last twelve months with Cordis. Of those accounts, 21 of them are not in Bart's
assigned territory with ev3. There are 14 hospitals that Bart called on for Cordis which he is
now calling on for ev3. However, he is contacting physicians at those hospitals that he had no
previous contact and/or relationship with while employed by Cordis. Of all of the accounts
listed, there is just one physician customer that Bart had a previous business relationship with
while employed by Cordis, Dr. Lohman at Meadowview Hospital in Maysville, Kentucky. e

With respect to the one overlapping account specified above, ev3 would be agreeable to
keeping Bart from calling on Dr. Lohman through March 31, 2010.

Rhonda Barr

ev3 has reviewed the list of 45 accounts (either by hospital name and/or physician name)
submitted to us by Cordis, taken to be a comprehensive list of accounts Rhonda was
responsible for during her last twelve months with Cordis. Of those accounts, ev3 is willing to

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ev3Neurovascular·9n5TOiedOW&y,lrvlne, CA92618•Ph+1949 8373700
ov3 Europe /lntumatlunal Headquarters • 1061108 rue La Boll11e, 75008 Pam, France • Ph +33 166 88 591 o




                                                                                                                           JANREM0113043
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      ev3·
          •••           Your endovascular company.·




keep Rhonda out of38 of the 45 accounts Cordis listed through January 31, 2010 (taking into
account that Rhonda has not been in these accounts since her resignation from Cordis in
February 2009). ev3 proposes that Rhonda be allowed to call on the following seven
customers without restrictions:

Dr. Ray Smith at Willis Knighton North
Dr. Brittan Eaves at Willis Knighton Bossier
Drs. Jerome Danzell, Anil Chhabra, and Rick Stafford at Willis Knighton Piermont
Dr. Greg Sampognaro and Steve Ramee at P & S

I will await you and your client's response to ev3 's proposal regarding these two individuals.




      n Sorensen
       ty General Counsel




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ev3 Neurovascular• 9775TGJedoWay,Jrvlne, CA 92618 ·Ph +1 949837 3700
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                                                                                                             FOR USE BY CLERK'S OFFICE ONLY
                                                                                                             PAYMENT TYPE: CK    CG    CA
                                 CIVIL CASE INFORMATION STATEMENT
                                                {CIS)                                                        CHG/CK NO.
                                                    Use for initial Law Division
                                      Civil Part pleadings (not motions) under Rule 4:5-1                   AMOUNT:
                                 Pleading will be rejected for filing, under Rule 1 :5-S(c},
                                                                                                             OVERPAYMENT:
                                 if information above the black bar is not completed or
                                             if attorney's signature is not affixed.                         BATCH NUMBER:

1. ATTORNEY I PROSE NAME                                         2. TELEPHONE NUMBER               3. COUNTY OF VENUE
Edwin F. Chociey, Jr.                                           1973-538-0800                      Middlesex
4. FIRM NAME (if applicable)                                                                       5. DOCKET NUMBER (When available)
Riker, Danzig, Scherer, Hyland & Perretti LLP
6. OFFICE ADDRESS                                                                                  7. DOCUMENT TYPE
Headquarters Plaza                                                                                   Verified Complaint
One Speedwell Avenue                                                                               8. JURY DEMAND
Morristown, NJ 07962-1981                                                                                       DYES      [giNo
9. NAME OF PARTY (e.g. John Doe, Plaintiff)              10. CAPTION
   Johnson & Johnson and Cordis Corporation             Johnson & Johnson and Cordis Corporation
   Plaintiffs                                           v.
                                                        ev3, Inc., Rhonda Barr, Andrew Fitzpatrick and Brendan McKeever
11. CASE TYPE NUMBER                                12. IS THIS A PROFESSIONAL MALPRACTICE CASE?               UYES           IZ!No
(See reverse side for listing)
 508                                                IF YOU HAVE CHECKED "YES," SEE N.J.S.A. 2A:53A-27 AND APPLICABLE CASE LAW REGARDING
                                                    YOUR OBLIGATION TO FILE AN AFFIDAVIT OF MERIT.

13. RELATED CASES PENDING?                      14. IF YES, LIST DOCKET NUMBERS


                   DYES          [giNo

15. DO YOU ANTICIPATE                                                  16. NAME OF DEFENDANT'S PRIMARY INSURANCE COMPANY, IF KNOWN
ADDING ANY PARTIES (arising
out of same transaction or                                                                                                                  NONE
occurrence)?                                                                                                                                UNKNOWN   X

            THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE.
CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

17. A. DO PARTIES HAVE A CURRENT,                  IF YES, IS THAT
    PAST OR RECURRENT                              RELATIONSHIP      FORMER EMPLOYER-              FRIEND/NEIGHBOR        OTHER (explain)
                                                                     EMPLOYEE (BARR,         X
    RELATIONSHIP?                                                    FITZPATRICK, MCKEEVER)        BUSINESS

18. B. DOES THE STATUTE GOVERNING THIS
     CASE PROVIDE FOR PAYMENT OF FEES
     BY THE LOSING PARTY?
19. USE THIS SPACE TO ALERT THE COURT TO ANY SPECIAL CASE CHARACTERISTICS THAT MAY WARRANT INDIVIDUAL MANAGEMENT OR ACCELERATED
DISPOSITION:




                20. DO YOU OR YOUR CLIENT NEED                                IF YES, PLEASE IDENTIFY THE
                ANY DISABILITY ACCOMMODATIONS? DYES                  [giNO    REQUESTED ACCOMMODATION:


21. WILL AN INTERPRETER BE NEEDED?
                                                         DYES        [giNO    IF YES, FOR WHAT LANGUAGE:

22. ATTORNEY SIGNATURE                                                                                                     December 10, 2009
Revised effective 9106
                                                                         {/      v



                                                                                                                                                  JANREM0113045
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    SIDE2
                                          CIVIL CASE INFORMATION STATEMENT
                                                                          (CIS)
                                                 Use for initial pleadings (not motions) under   Rule 4:5-1


CASE TYPES (Choose one and enter number of case type in appropriate space on the reverse side.)

            Track 1-150 days' discovery
                     151      NAME CHANGE
                     175      FORFEITURE
                     302      TENANCY
                     399      REAL PROPERTY (other than Tenancy, Contract, Condemnation, Complex Commercial or Construction)
                     502      BOOK ACCOUNT (debt collection matters only)
                     505      OTHER INSURANCE CLAIM (INCLUDING DECLARATORY JUDGMENT ACTIONS)
                     506      PIP COVERAGE
                     510      UM or UIM CLAIM
                     511      ACTION ON NEGOTIABLE INSTRUMENT
                     512      LEMON LAW
                     801      SUMMARY ACTION
                     802      OPEN PUBLIC RECORDS ACT (SUMMARY ACTION)
                     999      OTHER (Briefly describe nature of action



             Track II - 300 days' discovery
                        305      CONSTRUCTION
                        509      EMPLOYMENT (other than CEPA or LAD)
                        599      CONTRACT/COMMERCIAL TRANSACTION
                        603      AUTO NEGLIGENCE- PERSONAL INJURY
                        605      PERSONAL INJURY
                        610      AUTO NEGLIGENCE - PROPERTY DAMAGE
                        699      TORT- OTHER

             Track Ill - 450 days' discovery
                        005      CIVIL RIGHTS
                        301      CONDEMNATION
                        602      ASSAULT AND BATIERY
                        604      MEDICAL MALPRACTICE
                        606      PRODUCT LIABILITY
                        607      PROFESSIONAL MALPRACTICE
                        608      TOXIC TORT
                        609      DEFAMATION
                        616      WHISTLEBLOWER I CONSCIENTIOUS EMPLOYEE PROTECTION ACT (CEPA) CASES
                        617      INVERSE CONDEMNATION
                        618      LAW AGAINST DISCRIMINATION (LAD) CASES

             Track IV -Active Case Management by Individual Judge /450 days' discovery
                       156     ENVIRONMENTAUENVIRONMENTAL COVERAGE LITIGATION
                       303     MT. LAUREL
                       508     COMPLEX COMMERCIAL
                       513     COMPLEX CONSTRUCTION
                       514     INSURANCE FRAUD
                       701     ACTIONS IN LIEU OF PREROGATIVE WRITS

                      Mass Tort (Track IV)
                      240      REDUX/PHEN-FEN (formerly "DIET DRUG")                     268       MANUFACTURED GAS PLANT (MGP)
                      241      TOBACCO                                                   271       ACCUTANE
                      248      CIBA GEIGY                                                272       BEXTRAICELEBREX
                      264      PPA                                                       601       ASBESTOS
                      266      HORMONE REPLACEMENT THERAPY (HRT)                         619       VIOXX

            If you believe this case requires a track other than that provided above, please indicate the reason on Side 1,
            in the space under "Case Characteristics."

            Please check off each applicable category:

                      D Verbal Threshold                   D Putative Class Action                            D Title 59
Revised Effective 9/06
4002859.1




                                                                                                                              JANREM0113046
